                            Case 18-11625-KJC                               Doc 253                Filed 10/17/18                      Page 1 of 56




                                                            IiNITTD STATES BA~IKRLJPTCY COiJRT
                                                                  DISTRICT OT DELEWAR~


In re'I'intri, Inc.                                                                                                                                 Case no. 18-11625 (KJC)
                                                                                                                                               Reporting Period: August 2018


                                                                  D-iONTIILY OPERATING RLPORI'
                                        [File with Conrt and suLmit copy to ilnited States 'Crastee within 20 days after end of monthl


Submit copy ofreport to any ofGcia] committee appointed in tl~e case.

                                                                                                                    I~a~carnent        i:xF~tanution e'~fifici:~s°itf~iu~i~ilem~riG
                           a:,~ar-r-c                                                        ':t.,...~„ ~.. i       -.t 41 a.~t,.,,t     .f eani,..ri          .a rete71 a,1

Schedule of Cash Receipts and Disbursements                                              MOR-1
   Bank Itecoi~ciliation (or copies of debtor's bank reconciliations)                    M(~R-la                          X
   Schedule of Professional Fees Paid                                                    M(~R-lb                          X
   Copies of bank statements                                                                                              X
    Cash disbursei~ieiits journals                                                                                        X
Statement of Operations                                                                  MOR-2                            X
Balance Sheet                                                                            MOR-3                            X
Status of Postpetitiou Taxes                                                             MOK-4                            X
  Copies oi'IRS Form C>123 or payment receipt
  Copies oftax returns filed during reparting period
Summary of Unpaid Postpetition Debts                                                     MOR-A                            X
   Listing of aged accounts payable                                                      MOR-4                            X
Accounts Receivable Reconciliation and Aging                                             MOR-5                            X
Debtor Questionnaire                                                                     MOR-5                            X



1 declare under penalt}~ of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the hest of my knowledge and belief,


                                                                                                         J
Si natur of De or                                                                             U e




Signature of,Toint Debtor                                                                     Date




Signature of Authorized Individual*                                                           Date




Printed Name of Authorized Individual                                                         Title of Authorized Individual



".•,uthorizecl individa~l must be an ufficer, director or shareholder if deUtor is a corponition; a partner if debtor
is a partnership; a manager or member itdebtor is a limited liabilit}' cumpany.




                                                                                                                                                                                      MOR
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In re Tintri, Inc.                                                                                                                  Case no. 18-11625(KJC)
Debtor                                                                                                    Reporting Period: August 1, 2018 to August 31, 2018

            SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS(UNAUDITED)


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Customer Receivable                                     Tintri, Inc.                8/8/2018              740,320
Customer Receivable                                     Tintri, Inc.                8/9/2018              165,710
Customer Receivable                                     Tintri, Inc.               8/10/2018              638,139
Customer Receivable                                     Tintri, Inc.               8/13/2018              369,376
Customer Receivable                                     Tintri, Inc.               8/14/2018               53,206
Customer Receivable                                     Tintri, Inc.               8/15/2018              410,317
Customer Receivable                                     Tintri, Inc.               8/16/2018              189,097
Customer Receivable                                     Tintri, Inc.               8/20/2018               93,075
Customer Receivable                                     Tintri, Inc.               8/22/2018              688,928
Customer Receivable                                     Tintri, Inc.               8/23/2018               14,890
Customer Receivable                                     Tintri, Inc.               8/24/2018              659,780
Customer Receivable                                     Tintri, Inc.               8/30/2018              266,797
Customer Receivable                                     Tintri, Inc.               8/31/2018              328,229

  Total Receipts                                                                                  $4,617,863.30


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Revolver Pay down                                       Tintri, Inc.                              $2,675,545.36
Occupancy                                               Tintri, Inc.                                $967,052.83
Domestic Payroll                                        Tintri, Inc.                                $700,093.67
Professionals                                           Tintri, Inc.                                $696,333.82
Other Overhead                                          Tintri, Inc.                                $377,856.40
Goods for Resale                                        Tintri, Inc.                                $311,536.98
Other Payroll                                           Tintri, Inc.                                $262,147.98
Taxes                                                   Tintri, Inc.                                $260,722.50
1099s &Outside Labor                                    Tintri, Inc.                                $219,542.31
Benefits                                                Tintri, Inc.                                $148,307.94
Freight /Shipping                                       Tintri, Inc.                                 $73,103.93
Approved pre-petition reimbursable expenses             Tintri, Inc.                                 $53,488.56
SVB Interest &Fees                                      Tintri, Inc.                                 $38,499.31
Approved pre-petition Benefits                          Tintri, Inc.                                 $19,642.42
Insurance                                               Tintri, Inc.                                 $17,853.00
Employee Expense Reimbursement                          Tintri, Inc.                                 $15,030.20
Approved pre-petition taxes                             Tintri, Inc.                                  $8,393.22
Approved pre-petition WC Insurance                      Tintri, Inc.                                  $5,566.00
Approved pre-petition Flash                             Tintri, Inc.                                    $581.40

Total Cash Disbursements                                                                          $6,851,297.83




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TOTAL DISBURSEMENTS                                                                                                                          $6,851,297.83

   LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                          $2,693,398.36

   PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                          ~
TOTAL DISBURSEMENTS NOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                              $4,157,899.47




                                                                                                                                                     FORM MOR-1
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In re Tintri, Inc.                                                                    Case no. 18-11625(KJC)
Debtor                                                     Reporting Period: August 1, 2018 to August 31, 2018

                                BANK RECOI~TCILIATIONS(UNAUDITED)
                                       Continuation Sheet for MOR-1

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Cash Collateral Account                                                           5091                          $0.00
Adequate Assurance Deposit Account                                                7808                     $20,000.00
For Stock Options Account                                                         7412                          $0.00
Analysis Checking*                                                                3392                        $390.93
Accounts Payable                                                                  8309                          $0.00
Payroll Account                                                                   4131                          $0.00
ESPP Account                                                                      9494                     $24,708.30
SVB Cash Sweep Account                                                            0629                  $2,006,198.78

 Total Cash*                                                                                            $2,051,298.01
*Note Cash variance vs balance sheet is due to cash sweep in transit
See copies of account statements for additional detail




                                                                                                               row MOR-i~
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In re Tintri, Inc.                                                                                                                      Case no. 18-I 1625(KJC)
Debtor                                                                                                    Reporting Period: August I, 2018 to August 31,2018


                                              SCHEDULE OF PROFESSIONAL FEES AND EXPANSES PAID



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Berkeley Research Group                                    August 1, 2018 to August 31, 2018                                           0.00                 0.00
Pachulski Stang Ziehl &Jones LLP                           August 1, 2018 to August 31, 2018                                           0.00                 0.00
Baker &McKenzie                                            August 1, 2018 to August 31, 2018                                           0.00                  0.00
Wilson Sonsini Goodrich &Rosati                            August 1, 2018 to August 31, 2018                                           0.00                  0.00
Kurtzman Carson Consultants LLC                            August 1, 2018 to August 31, 2018                                           0.00                  0.00
Ashby &Geddes Attorneys and Counselors at Law              August t, 2018 to August 31, 2018                                           0.00           $16,886.40
Riemer &Braunstein LLP                                     August 1, 2018 to August 31, 2018                                           0,00           $77,445.42




Note: Total professional fees paid into escrow for the post-petition period to date is $601 k, consistent with interim DIP order.




(1) Approved amounts represent the amounts approved by Court orders.


                                                                                                                                                                    FORM MOR-IV
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In re Tintri, Inc.                                                                                 Case no. 18-11625(KJC)
Debtor                                                                            et•iod: August 1, 2018 to August 31, 2018

                                   STATEMENT OF OPERATIONS(UNAUDITED)
                                             (Income Statement)

Ordinary Income/Expense
  ~~OtS~~-~IiC0171@J~y~
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  Tots~l - ('ost Of Saks                                                                                     ($5,033,213)
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  Expense
    Total - 61100 -SALARIES                                                                                     $751,496
    Total - 61200 -PAYROLL TAXES &BENEFITS                                                                      $194,015
    Total - 61300 -COMMISSIONS/BONUSES                                                                           $g~,272
    Total - 62100 -TRAVEL                                                                                       ($51,180)
    Total - 63100 -SOFTWARE MAINTENANCE                                                                         $193,966
    Total - 64000 -MARKETING                                                                                     $10,202
    Total - 65500 -OUTSIDE SERVICES                                                                           $1,026,375
    Total - 67000 -OTHER                                                                                          $7,180
    Total - 68000 -FACILITIES                                                                                 $1,072,955
    Total - 68800 -EQUIPMENT/MATERIAL                                                                            $14,808


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Other Income and Expenses
     Total - 90000 -OTHER INCOME/EXPENSE                                                                    ($40,006,834)
  Total -Other Expense                                                                                      ($40,006,834)
Net Other Tnoome                                                                                             $40,006,834
Net Tncoi~a~                                                                                                 ~-~3,~i9~E73




(a)Balance is driven by non-cash write-downs of inventory reserve balances.
(b)Includes professional fee escrow amounts and 1099 employees.
(c)Includes rent for the month of September that was paid in August.
(d) Balance primarily driven by non-cash write-down of liabilities including Deferred Revenue.




                                                                                                                  FORM MOR-2
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In re Tintri, Inc.                                                                                              Case no. 18-11625(KJC)
Debtor                                                                               2eporting Period: August 1, 2018 to August 31, 2018


                                                    BALANCE SHEET(UNAUDITED)


                                             :~s~, ~
  t:«~-~cr,t asset
     Bank
          Total - 12000 -CASH                                                                                              $2,625,710
     Total Bank                                                                                                            $2,G25,710
      Accounts Receivable
          12200 - ACCOLiNTS RECEIVABLE
              12210 -Accounts Receivable                                                                                   $6,046,932
              12215 -Accounts Receivable -Other                                                                                $5,539
              12220 - Unbiiled AR                                                                                            $116,690
              12280 -Bad Debt Reserve                                                                                       ($677,865)
              12299 -Intercompany Receivables                                                                             $70,834,461
          Total - 12200 -ACCOUNTS RECTIVABLE                                                                              $76,325,758
     Total Accounts Receivable                                                                                            $76,325,758
   Total Current Assets                                                                                                   ~78,951,4G8
   Total Other Assets                                                                                                         $73,06R
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  ('urr~~rz4 ~_,i~bilifirs
      Accounts Payable
          22000 -ACCOUNTS PAYAI3L~
      Total Accounts Payable                                                                                               X83,541,478
      Other Current Liability
          Total - 22200 -ACCRUED LIABILITIES                                                                               $6,786,341
          Total - 22600 -TAXES PAYABLE                                                                                         $6,063
          Total - 22700 -DEBT - S/T                                                                                       $59,522,630
      Total Other Current Liability                                                                                       $66,315,034
   Total CurrenT Liabilities                                                                                             $149,856.512
   T.~n~:T~rm L;iabtttt
     'total-23000-O'IIIIJt I IAi31LI'I'II?S                                                                                   ~'~~~.~»
     '1'uta~l - 25000 - DI?i3T - I.PI'                                                                                      S 1,244,073
  'Tntal I,tro~ "Perm Li~t~ilifir~                                                                                          ~1,~2$,~0$
   ~,c7 t~ itv~
   Total G,quity                                                                                                         ($72,360,183)
'T'otat T~I1RIi,I"FIF:~ ~S: I=.(ZLz3"i'}~ ';                                                                              57'),62~€,~36




"Note: Accounts will continue to be reviewed in September fo determine if additional non-cash write-down of balances are needed




                                                                                                                              FORM MOK-3
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In re Tintri, Inc.                                                                                                                     Case no. 18-11625(KJC)
Debtor                                                                                                      Reporting Period: August 1, 2018 to August 31, 2018

                                        STATUS OF POSTPLTITION TAXES(UNAUDITED)


                                 __                 i ihiii iii;;           art           I;19{~ill~;
                                                        1a~            Clt.in~~riii          I':at
                                                     Ii,~b}~ir}       te,~ni~lPaa        iiaJzilit;:


22205 -Sales Taxes Payable                           $17,533.14              $0.00    $17,533.14 ;a)
22206 -Accrued Use Taxes                          $1,974,13236               $0.00 $1,974,132.36 ;a)
22295 -Accrued Payroll Tax                           $68,88625         ($67,719.19)    $1,167.06
22397 - Business/Property Taxes Payable             $138,837.59              $0.00   $138,837.59 a)(b)
22620 -Income Tax Payable -State ST                  $12,868.43              $0.00    $12,868.43 ;a)
22625 -Income Tax Payable -Other ST                  ($6,805.80)             $0.00    ($6,805.80) 'a)

 Total Taxes                                       $2,205,45197       ($67,719.19) X2,137,732.78
~ Note: tsu[ances are estrmates ana re)~ect unauar~ea~~nancruts preparea ay company naanagemenr.
   (aJ No changes in accrued balances. Accounts will be reviewed in September to determine ifa wrrle-down ofprior balances is needed.
   (6J Business 'faxesfor the City ofSanta Cara, CA were paid in August and ure reflected rn the disbursement smnmary.

                                SUMMARY OT UNPAID POS'TPETITION DEBTS(UNAUDITED)


                                                                                       1i~t~thcr i~f ~;tt c Past t)ue
                                                 r„R~„r             n_t:r~,i        t;_zI~             i(1_ti           :15-fit1            fit)
Accounts Payable(c)                                     $186,424          ($36,633)        $41,298             $13,683             $1,05]           $U
22275 -Accrued 401K                                      $42,640                $0               $0                  $0                $0           $0
22285 -Accrued Fringe Benefits(d)                        $24,842                $0               $0                  $0                $0           $0
22305 -Accrued Bonuses(d)                                 $1,412                $0               $0                  $0                $0           $0
22350 -Accrued Travel &Entertainment(d)                       $0                $0                $0                 $0                $0           $0
22380 -Customer Deposits                                      $0                $0                $0                 $0                $0           $0
22397 -Business/Property Taxes Payable                        $0                $0                $0                 $0                $0           $0
Total Postpetition Debts*                               $255,319          ($36,633)        $41,298             $13,683             X1,051           $0

*Amounts do not include balances for Accrued interest &financing expenses




                                                                                                                                                      FORM MOR-4
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In re Tintri, Inc.                                                                                                        Case no. 18-11625(KJC)
Debtor                                                                                         Reporting Period: August 1, 2018 to August 31, 2018



               ACCOUNTS RECEIVABLE RECONCILIATION AND AGII~TG(UNAUDITED)


                                  ~...         ;<.,                                                                            ....................... .
~~sro~uats ~tecc~~~il~te RecvriciTi~tfiun                                                                                        :4ntu~~:r~t ::
Total Accounts Receivable at the beginning ofthe reporting period                                                          $8,769,742.62
+Amounts billed during the period                                                                                          $1,954,864.55
- Amounts collected during the period                                                                                      $4,617,863.30
- Other GAAP adjusting entries*                                                                                               $59,811.62
Total Accounts Receivable at the end of the reporting period                                                               $6,046,932.25

*Includes GAAP reversalsfrom July &Deposit Application

riccounis I2eceilafale ~1~iii~                                                                                                  Au~otr~t
Current                                                                                                                      $307,756.35
0-15 days old                                                                                                              $1,019,163.08
15-30 days old                                                                                                               $829,860.05
30-45 days old                                                                                                               $838,105.82
45-60 days old                                                                                                               $657,919.35
60 +days old                                                                                                               $2,394,127.60
Total Accounts Receivable                                                                                                  $6,046,932.25
Amount considered uncollectible(Bad Debt)                                                                                   ($677,864.73)
Accounts Receivable (Net)                                                                                                  $5,369,067.52

                                                  DEBTOR QUESTIONNAIRE
                                                                                                         ..... ...................................... .
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I . Have any assets been sold or transferred outside the normal course of business
    this reporting period? If yes, provide an explanation below.                                                       X
2. Have any funds been disbursed from any account other than a debtor in possession
   account this reporting period? Ifyes, provide an explanation below.                                                 X
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
    below.                                                                                    X
4. Are workers compensation, general liability and other necessary insurance
   coverages in effect? If no, provide an explanation below.                                  X
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened accounts}. If an investment account has been opened
    provide the required documentation pursuant to the Delaware Local Rule 4001-3.                                     X




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       n~~~~
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       ~~ ~
      ~~~

                  '~ oi , ~' o.l~                                               Augusf 2018
                 3003 Tasman Drive                                              Reporting Activity 08/01- 08/31            Page 1 of 76
                 Santa Clara, CA 95054
       ADDRESS SERVICE REQUESTED                                                     Managing Your Accounts
                                                                                   ~.;:i.~ Phone:              (408)654-4636
      >00~243 2094871 000], X927,96 30Z                                             v
       TINTRI, INC.                                                                         Toll-Free:         (800) 774-7390
       C/O TRIPLEPOINT CAPITAL LLC
       ATTN: SAJAL SRIVASTAVA, PRESIDENT                                                   . Email:            clientservice@svb.com
                                                                                      ::
       2755 SAND HILL RD
       MENLO PARK CA 94025                                                                  Online:            www.svb.com




                                        ___.
 Summary of Accounts
                              Account Type                                                       Account Number        Ending Balance
                              Analysis Checking                                                       XXXXXX8309                  $0.00
                              Total Balance                                                                                       $0.00



Analysis Checking -)(XXXXX8309
Account Summary
Date              Description
08/01/2018        Beginning Balance                                 $0.00
08/31/2018        Ending Balance                                    $0.00
                  Total debits this period                  $3,334,878.58
                  Total credits this period                 $3,334,878.58
                  Service Charge                                    $0.00

Account Activity
 Transaction Date         Description                                                Debits                Credits           Balance

 08/01/2018               Beginning Balance                                                                                     $0.00

 08/07/2018               TINTRI PAULA P                                           -$266.31                                  -$266.31

                          ACH OFFSET
 08/01/2018               TINTRI FEDEX                                           -$9,569.29                               -$9,835.60

                          ACH OFFSET
 08/01/2018               TRANSFER FROM DDA 3300923392                                                   $9,835.60              $0.00

  08/02/2018              TINTRI BUSINESS W                                      -$1,130.00                               -$9,130.00

                          ACH OFFSET
 08/02/2018               TRANSFER FROM DDA 3300923392                                                   $1,130.00              $0.00

  08/03/2018              TINTRI828GATEWAY                                         -$128.99                                  -$128.99

                          ACH OFFSET
  08/03/2018               TINTRI JAY LEONE                                        -$269.95                                  -$398.94

                          ACH OFFSET



              Member                                   ALL SVB AUDIT CONFIRMATION REQUESTS SHOULD BE
 ~ouranavua   ~~~C                                SUBMITTED TO GAPITAL CONFIRMATION WWW.CONFIRMATION.COM
 LENDER
                                               Case 18-11625-KJC                                       Doc 253               Filed 10/17/18                  Page 10 of 56
                                                             CHECKS OUTSTANDING
                                                                     € .._ .__ - _ _.                            _   ._.__        -      ~   ---- - -             CHECKBOOK RECONCILIATION
DATE               !      AMOUNT                          DATE              ~     AMOUNT                     PATE                AMOUNT
OR#                G                                   ', OA#               ~                              ? OR#                                                          ,.            ..                }_.

                                                                                            _  ~           .'.                                ~            ENTER
    ...       ... ~_.          _         ~                     _ __._       ~ ......
                                                                                                ~                                             ~            BALANCE THIS                      $
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                                                                                                                   WITHIN
PLEASE REPORT ANY ERRORS OR OMISSIONS PROMPTLY TO US. ERRORS OR OMISSIONS THAT ARE REPORTED
                                                                     ARE  USUALLY   RESOLVED     MUCH   MORE   QUICKLY
THE FIRST 30 DAYS FROM THE DATE OF THE LAST STATEMENT CYCLE
                                                                                                                   or errors
THAN DATED REQUESTS. As a fraud prevention measure, you need to review your statements and report unauthorized use
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                                                                                                                                                    ❑          Compared deposit amounts on
    ❑              Accounted for
                   bank charges?
                                                        ❑                Verified additions and sub-
                                                                         tractions in your checkbook?
                                                                                                                         ~ Compared canceled
                                                                                                                           checks to check stub?                               statement to your checkbook?

                                                                                                                    call (800) 774-7390 to
Any charges for imprinted checks include state sales tax computed at the current rate, when applicable. You can
                                        a legible copy. We will without charge provide at least two items (or substitute checks or legible
request an item or substitute check, or
copies) upon request, with respect to each statement.

                      IN CASE OF ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC TRANSFERS
                                                          (For Consumer Clients)
                                                                                                                3003 Tasman Drive, Santa
Telephone Silicon Valley Bank at (800) 774-7390 or write us at: Silicon Valley Bank, Attn: Client Services,
           95054,  as soon as you  can, if you think your statement or  your receipt is wrong  or if you need  more information about a
Clara, CA
                                                 hear from  you no later than 60 days   after we sent  you the FIRST  statement on which the
transfer on the statement or receipt. We must
error or problem appeared.

          •        Teil us your name and account number (if any).
                                                                                                                                   is an error or
          •        Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe this
                   why you need    more information.
          •        Tell us the dollar amount of the suspected error.
                                                                                                                   to do this, we will credit
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days
                                       is in error, so that you will have the use of the money during the time it takes  us to complete our
 your account for the amount you think
 investigation.

 For questions about preauthorized transfers, please contact us at (800) 774-7390.

                                 IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
                                                                                                                    altered or other
 You agree to review your statement and to report unauthorized use (checks or other charges that are forged,
                                                        agreement  sets  specific times within which   you  must  report unauthorized use or
 unauthorized use) or error immediately. Your deposit                                                                         use or errors to
 errors to us. In summary (and subject to special rules that may apply to consumers), youif    fail to report unauthorized
                                                      you may be liable for subsequent   unauthorized   use  by  the same  wrongdoer.    If you
 us within 30 days after your statement is available,                                                                          Your statement
 fail to report within 60 days, you may also be precluded from asserting the unauthorized   use  or other  error against  us.
                                                                                                                                 may set
 is deemed "available" when made available in paper or electronic form. Your deposit agreement or Related Agreements
 shorter reporting requirements, such as for ACH services.

                                                   FAIR CREDIT REPORTING ACT
                                                                                                          defaults on your account
 We may report information about your account to credit bureaus. Late payments, missed payments, or other
 may be reflected in your credit report.
                                                                    Member of FDIC and Federal Reserve System.
                                   SVB,SVB> and SVB>Find a way are all trademarks of SVB Financial Group. 002013 Silicon Valley Bank~ All rights reserved.
                                                                                     Rev. 09-01-13
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                    g       ~     ..                           August 2078
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Analysis Checking - X)UU(XX8309 (continued)
Account Activity (continued)

 Transaction Date   Description                                     Debits               Credits      Balance

 08/03/2018         TINTRI HIS                                    -$396.00                            -$794.94

                    ACH OFFSET
                    TINTRI BRANDON S                              -$482.00                          -$1,276.94
 08/03/2018
                    ACH OFFSET
                    TINTRI AST                                    -$709.68                          -$1,986.62
 08/03/2018
                    ACH OFFSET
                    TINTRI MARK G                               -$1,252.76                          -$3,239.38
 08/03/2018
                    ACH OFFSET
                    TINTRI JEAN ZHOU                            -$2,200.00                          -$5,439.38
 08/03/2078
                    ACH OFFSET
                    TINTRIPEOPLE2.0                             -$2,280.00                          -$7,779.38
 08/03/2018
                    ACH OFFSET
                    TINTRI WARDEN                                -$4,818.24                        -$12,537.62
 08/03/2018
                    ACH OFFSET
                    TINTRI MICHAEL 8                             -$5,000.00                        -$17,537.62
  08/03/2018
                    ACH OFFSET
                    TINTRI FACILITYM                             -$5,356.16                        -$22,893.78
  08/03/2018
                    ACH OFFSET
                    TINTRI LOCKTON                               -$5,566.00                        -$28,459.78
  08/03/2018
                    ACH OFFSET
                    TINTRI EdgeConnex                            -$5,897.42                        -$34,357.20
  08/03/2018
                    ACH OFFSET
                    TINTRI FLASH GLOB                            -$8,919.78                        -$43,276.98
  08/03/2018
                    ACH OFFSET
                    TINTRIZAYO                                  -$'11,840.73                        -$55,197.79
  08/03/2078
                    ACH OFFSET
                    TINTRI GEORGE U                             -$22,525.00                         -$77,642.71
  08/03/2018
                    ACH OFFSET
                    WIRE OUT 80803E 1877D 1 C003223{           -$109,000.00                        -$186,642.71
  08/03/2018
                    201821515679;BNF PACHULSKI STA
                    NG ZIEHL AND JONES LLP;OBI CLl
                    WIRE OUT 80803L1877D1C003224{              -$187,316.69                        -$373,959.40
  08/03/2018
                    201821515692;BNF BOSTON PROPER
                     TIES;O81 INVOICE 2610669AUGUST
                        WIRE OUT 80803L1877D1C001255{          -$279,307.93                        -$653,267.33
  08/03/2018
                    201821501772;BNF 303 MVRP, LLC
                    ;081 TINTRI AUGUST 2018 RENT
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Analysis Checking - X~00(X8309 (continued)
Account Activity (continued)

 Transaction Date   Description                                  Debits              Credits     Balance

                    TRANSFER FROM DDA 3300923392                                $653,267.33         $0.00
 08/03/2018
                    CHECK #20210                              -$202.43                           -$202.43
 08/06/2018
                    TRANSFER FROM DDA 3300923392                                    $202.43         $0.00
 08/06/2018
                    TINTRI ANYBILL                            -$116.25                           -$116.25
 08/07/2018
                    ACH OFFSET
                    TINTRI GCOLPITTS                          -$187.38                           -$303.63
 08/07/2018
                    ACH OFFSET
                    TINTRI DHALIWAL F                         -$741.20                         -$1,044.83
 08/07/2018
                    ACH OFFSET
                    TINTRI NORCAL                           -$3,892.63                          -$4,937.46
 08/07/2018
                    ACH OFFSET
                    TINTRI FLEX                              -$6,842.66                        -$19,780.12
 08/07/2018
                    ACH OFFSET
                    TRANSFER FROM DDA 3300923392                                 $11,780.12         $0.00
 08/07/2018
                                                                -$98.10                           -$98.10
 08/08/2078         TINTRI ANYBILL
                    ACH OFFSET
                                                               -$181.27                          -$279.37
  08/08/2018        TINTRI CA 1st Aid
                    ACH OFFSET
                                                               -$199.96                          -$479.33
  08/08/2018        TINTRI 1st Choice
                    ACH OFFSET
                                                               -$345.08                           -$824.41
  08/08/2018        TINTRI MArbelaez
                    ACH OFFSET
                                                             -$3,241.69                         -$4,066.10
  08/08/2018        TINTRI DONNELLEY
                    ACH OFFSET
                                                             -$4,818.24                         -$8,884.34
  08/08/2018        TINTRI Warden Sec
                    ACH OFFSET
                    TINTRI Life Insur                        -$5,824.66                        -$14,709.00
  08/08/2018
                    ACH OFFSET
                    TINTRI Cigna                            -$70,346.39                        -$25,055.39
  08/08/2018
                    ACH OFFSET
                     TINTRI Kaiser                          -$10,571.14                        -$35,626.53
  08/08/2018
                    ACH OFFSET
                     TINTRI Adobe                           -$15,534.25                        -$51,160.78
  08/08/2018
                    ACH OFFSET
                     TINTRI TruParfner                      -$17,725.00                        -$68,885.78
  08/08/2018
                    ACH OFFSET
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Analysis Checking - ~(XX)008309 (continued)
Account Activity (continued)

 Transaction Date   Description                                    Debits              Credits       Balance

                    TINTRI MSYS                              -$18,000.00                          -$86,885.78
 08/08/2018
                    ACH OFFSET
                    TINTRI Aetna                            -$122,456.35                         -$209,342.73
 08/08/2018
                    ACH OFFSET
                    TRANSFER FROM DDA 3300923392                                  $209,342.13          $0.00
 08/08/2018
                    TINTRI MBIRDSALL                          -$5,000.00                           -$5,000.00
 08/09/2018
                    ACH OFFSET
                    TINTRI AWS                               -$21,423.83                          -$26,423.83
 08/09/2018
                    ACH OFFSET
                    TRANSFER FROM DDA 3300923392                                   $26,423.83          $0.00
 08/09/2018
                                                                  -$30.57                             -$30.57
 08/10/2018         TINTRI AWS
                    ACH OFFSET
                                                                 -$110.00                            -$140.57
 08/10/2018         TINTRI Crane Pesf
                    ACH OFFSET
                                                                 -$326.00                            -$466.57
 08/10/2018         TINTRI His Health
                    ACH OFFSET
                                                                 -$674.20                          -$1,140.77
  08/10/2018        TINTRI Flash
                    ACH OFFSET
                                                                 -$932.59                          -$2,073.36
 08/10/2018         TINTRI Expeditors
                    ACH OFFSET
                                                               -$7,650.00                          -$3,723.36
  08/70/2018        TINTRI JOE DYER
                    ACH OFFSET
                                                               -$2,200.00                          -$5,923.36
  08/10/2018        TINTRI Jean Zhou
                    ACH OFFSET
                                                              -$15,000.00                         -$20,923.36     0
  08/10/2018        TINTRIOnProcess                                                                               0
                                                                                                                  m
                    ACH OFFSET                                                                                    0
                                                              -$20,000.00                         -$40,923.36
  08/10/2018        TINTRI FedEx
                    ACH OFFSET                                                                                    0
                                                                                                                  0
                    TINTRI FedEx                              -$22,220.03                         -$63,143.39     0
  08/70/2018                                                                                                      m
                                                                                                                  0
                                                                                                                  0
                    ACH OFFSET
                     TINTRI GUrioste                          -$24,438.00                         -$87,581.39
  08/10/2018                                                                                                      ~-
                    ACH OFFSET                                                                                    m
                                                                                                                  ti
                     TINTRI Fiash                             -$48,023.88                        -$735,605.27     0
  08/10/2018
                    ACH OFFSET
                     WIRE OUT 80810E1877D 1 C000640{          -$99,000.00                        -$234,605.27
  08/10/2018
                     201822203488;BNF PACHULSKI STA
                     NG ZIEHL AND JONES LLP;O81 CU
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Analysis Checking - X30(XXX8309 (continued)
Account Activity (continued)

 Transaction Date   Description                                   Debits              Credits     Balance

 08/10/2018         TRANSFER FROM DDA 3300923392                                 $234,605.27         $0.00

 08/13/2018         TINTRI BofA HSA                               -$36.00                          -$36.00

                    ACH OFFSET
                    TINTRI Smartsheet                             -$86.67                         -$122.67
 08/13/2018
                    ACH OFFSET
 08/13/2018         TINTRI SPetersen                            -$680.00                          -$802.67

                    ACH OFFSET
                    TINTRI Facility M                           -$690.00                        -$1,492.67
 08/13/2018
                    ACH OFFSET
                    TINTRI Flash                                -$747.03                        -$2,239.70
 08/13/2018
                    ACH OFFSET
                    TINTRI People 2.0                          -$3,382.00                        -$5,621.70
 08/13/2018
                    ACH OFFSET
                    TINTRI Warden Sec                          -$4,818.24                       -$90,439.94
 08/13/2018
                    ACH OFFSET
                    TINTRI VSP                                 -$7,302.48                       -$17,742.42
 08/13/2018
                    ACH OFFSET
                    TINTRI FedEx                               -$7,895.03                       -$25,637.45
 08/13/2018
                    ACH OFFSET
                    TINTRI 1Source HR                         -$14,922.76                       -$40,560.21
  08/13/2018
                    ACH OFFSET
                    TINTRI Zayo Group                         -$75,856.66                       -$56,416.87
  08/13/2018
                    ACH OFFSET
                    WIRE OUT 182250261700                     -$10,000.00                       -$66,416.87
  08/73/2018
                    201822502617;BNF NORIMASA ON(7
                    TRANSFER FROM DDA 3300923392                                   $66,416.87         $0.00
  08/13/2018
                    TINTRI DONNELLEY                             -$615.19                          -$615.79
  08/14/2018
                    ACH OFFSET
                    TINTRI Catered2                              -$742.90                        -$1,358.09
  08/74/2018
                    ACH OFFSET
  08/14/2018        TINTRI TruPartner                          -$5,125.00                        -$6,483.09

                    ACH OFFSET
                     TINTRI Lockton                           -$97,853.00                       -$24,336.09
  08/74/2018
                    ACH OFFSET
                     WIRE OUT 182260331100                     -$1,250.00                       -$25,586.09
  08/14/2018
                    201822603311;BNF TOUCHDOWN;OBI
                    INVOICES 3468
                    Case 18-11625-KJC           Doc 253   Filed 10/17/18       Page 15 of 56
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                                                                 Reporting Activity 08/01- 08/31     Page 7 of 16




Analysis Checking -                     (X)00(8309 (continued)

Account Activity (continued)

 Transaction Date   Description                                      Debits              Credits      Balance

 08/14/2018         CHECK #20216                                   -$293.55                        -$25,879.64

 08/74/2018         CHECK #20218                                 -$1,703.49                        -$26,983.13

 08/14/2018         CHECK #20217                                 -$2,855.68                        -$29,838.81

 08/14/2018         CHECK #20213                                 -$3,106.12                        -$32,944.93

 08/14/2018         TRANSFER FROM DDA 3300923392                                     $32,944.93          $0.00

 08/15/2018         TINTRI His Health                              -$256.00                           -$256.00
                    ACH OFFSET
 08/75/2078         TINTRI Flash                                   -$275.80                           -$531.80
                    ACH OFFSET
 08/15/2018         TINTRI KHarty                                  -$467.52                           -$999.32

                    ACH OFFSET
 08/75/2018         TINTRI MGritter                               -$1,226.03                        -$2,225.35

                    ACH OFFSET
 08/75/2018         TINTRI Facility M                             -$5,356.16                         -$7,581.51

                    ACH OFFSET
 08/15/2018         TINTRI FLEX                                  -$38,925.80                       -$46,507.31

                    ACH OFFSET
 08/15/2018         CHECK#20275                                   -$1,068.94                        -$47,576.25

 08/15/2018         TRANSFER FROM DDA 3300923392                                      $47,576.25         $0.00

  08/16/2018        WIRE OUT 80816E 1877D 1 C000255{             -$99,000.00                        -$99,000.00

                    201822802030;BNF PACHULSKI STA
                    NG ZIEHL AND JONES LLP;O81 CLI
  08/16/2018        CHECK #20219                                  -$5,000.00                       -$104,000.00

  08/16/2018        TRANSFER FROM DDA 3300923392                                     $104,000.00         $0.00

  08/17/2018        TINTRI Jim Ripley                               -$711.25                          -X719.25      0
                                                                                                                    0
                    ACH OFFSET                                                                                      0
                                                                                                     -$1,761.25     0
  08/17/2018        TINTRI JOE DYER                               -$1,050.00                                        ~-
                                                                                                                    0
                                                                                                                    .~
                    ACH OFFSET                                                                                      a

  08/17/2018        TINTRI RDeGuzman                              -$1,237.50                         -$2,998.75     0
                                                                                                                    m
                                                                                                                    m

                    ACH OFFSET                                                                                      0

  08/17/2018        TINTRI Jean Zhou                              -$4,400.00                         -$7,398.75
                                                                                                                    0
                    ACH OFFSET                                                                                      m
                                                                                                                    N

  08/17/2018        TINTRI MBIRDSALL                              -$5,000.00                        -$12,398.75     0
                    ACH OFFSET
  08/17/2018        TINTRI GUrioste                              -$25,713.00                        -$38,111.75

                    ACH OFFSET
  08/17/2018'       TRANSFER FROM DDA 3300923392                                      $38,111.75          $0.00
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Analysis Checking - )CXXXXX8309 (continued)
Account Activity (continued)

 Transaction Date   Description                                   Debits              Credits     Balance

 08/20/2018         CHECK #20221                                 -$99,58                           -$99.58

                    CHECK #20223                                -$110.00                          -$209.58
 08/20/20.18
                    CHECK #20220                               -$3,187.86                        -$3,397.44
 08/20/2098
                    TRANSFER FROM DDA 3300923392                                    $3,397.44        $0.00
 08/20/2018
                    TINTRI BusinessWi                           -$580.00                          -$580.00
 08/21/2018
                    ACH OFFSET
                    CHECK #20222                                -$208.41                          -$788.41
 08/21/2018
                    CHECK#20224                               -$30,679.17                       -$31,467.58
 08/21/2018
                    TRANSFER FROM DDA 3300923392                                  $31,467.58         $0.00
 08/21/2018
                    WIRE OUT 80822E 1877D1 C003519{           -$45,000.00                       -$45,000.00
 08/22/2018
                    201823414096;BNF VAN PELT,YI A
                    ND JAMES LLP;OBI INVOICE NO:
                    TRANSFER FROM DDA 3300923392                                   $45,000.00        $0.00
 08/22/2018
                                                                  -$22.29                           -$22.29
 08/24/2078         TINTRI JDeMartini
                    ACH OFFSET
                                                                  -$35.68                           -$57.97
 08/24/2018         TINTRI Shipware
                    ACH OFFSET
                    TINTRI Corodata                               -$93.85                          -$151.82
  08/24/2018
                    ACH OFFSET
                    TINTRI RRuiz                                 -$112.24                          -$264.06
  08/24/2078
                    ACH OFFSET
                    TINTRI MMurphy                               -$120.29                          -$384.35
  08/24/2018
                    ACH OFFSET
                    TINTRI BGladden                              -$142.18                          -$526.53
  08/24/2018
                    ACH OFFSET
                    TINTRI AStanford                             -$144.53                          -$671.06
  08/24/2018
                    ACH OFFSET
                    TINTRI Crane Pest                            -$155.00                          -$826.06
  08/24/2018
                    ACH OFFSET
                     TINTRI FirstChoi                            -$155.24                          -$981.30
  08/24/2018
                    ACH OFFSET
                     TINTRI Roy Murphy                           -$163.09                        -$1,144.39
  08/24/2018
                    ACH OFFSET
                     TINTRI GBreeze                              -$168.72                        -$1,313.11
  08/24/2018
                    ACH OFFSET
                     TINTRI MLombardo                            -$176.98                        -$1,490.09
  08/24/2018
                    ACH OFFSET
        ~<~
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Analysis Checking - XXXXXX8309 (continued)
Account Activity (continued)

 Transaction Date   Descriptian                              Debits              Credits     Balance

                    TINTRI Bay Alarm                      -$253.11                         -$1,743.20
 08/24/2018
                    ACH OFFSET
                    TINTRIInvoices                         -$267.25                        -$2,010.45
 08/24/2018
                    ACH OFFSET
                    TINTRI JEsparza                        -$450.00                        -$2,460.45
 08/24/2018
                    ACH OFFSE7"
                    TINTRI EHorowitz                       -$494.70                        -$2,955.15
 08/24/2018
                    ACH OFFSET
                    TINTRI His Health                      -$512.00                        -$3,467.15
 08/24/2078
                    ACH OFFSET
                    TINTRI KMoore                          -$532.32                        -$3,999.47
 08/24/2018
                    ACH OFFSET
                    TINTRI DKoch                           -$632.30                        -$4,637.77
 08/24/2018
                    ACH OFFSET
                                                           -$687.50                        -$5,319.27
  08/24/2018        TINTRI RDeGuzman
                    ACH OFFSET
                    TINTRI Catered2                        -$742.90                        -$6,062.17
  08/24/2018
                    ACH OFFSET
                    TINTRI KHarty                          -$825.91                        -$6,888.08
  08/24/2018
                    ACH OFFSET
                    TINTRI MHern                           -$891.03                        -$7,779.11
  08/24/2018
                    ACH OFFSET
                    TINTRI Todd Lewey                    -$1,007.68                         -$8,786.79
  08/24/2018
                    ACH OFFSET
                    TINTRI JOE DYER                      -$1,260.00                        -$10,046.79     0
  08/24/2018                                                                                               0
                    ACH OFFSET                                                                             0
                                                                                                           p
                                                         -$1,458.13                        -$11,504.92     a
  08/24/2018        TINTRI NORCAL
                    ACH OFFSET                                                                             0
                    TINTRI Concur                         -$7,487.07                       -$12,991.93     0
  08/24/2018                                                                                               m
                                                                                                           m

                    ACH OFFSET                                                                             0

                     TINTRI DParker                       -$1,782.09                       -$14,774.02
  08/24/2018                                                                                               0
                                                                                                           N
                    ACH OFFSET                                                                             m

                     TINTRI AWS                           -$2,438.36                       -$17,212.38     0
  08/24/2018
                    ACH OFFSET
                     TINTRI DONNELLEY                     -$3,351.60                       -$20,563.98
  08/24/2018
                     ACH OFFSET
                     Case 18-11625-KJC        Doc 253   Filed 10/17/18       Page 18 of 56
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Analysis Checking -)00(XXX8309 (continued)
Account Activity (continued)

 Transaction Date    Description                                   Debits              Credits      Balance

 08/24/2018          TINTRI Jean Zhou                          -$4,400.00                        -$24,963.98

                     ACH OFFSET
 08/24/2018          TINTRI Flash                              -$4,445.47                        -$29,409.45

                     ACH OFFSET
 08/24/2018          TINTRI Warden Sec                         -$4,818.24                        -$34,227.69

                     ACH OFFSET
 08/24/2018          TINTRI People 2.0                         -$4,826.00                        -$39,053.69

                     ACH OFFSET
                     TINTRI Mark Wood                          -$4,834.33                        -$43,888.02
 08/24/2018
                     ACH OFFSET
                     TINTRI MBIRDSALL                          -$5,000.00                        -$48,888.02
 08/24/2018
                     ACH OFFSET
                     TINTRI TruPartner                         -$5,892.50                        -$54,700.52
 08/24/2018
                     ACH OFFSET
                     TINTRI MNeally                            -$6,382.67                        -$61,083.19
 08/24/2018
                     ACH OFFSET
                                                               -$7,420.09                        -$68,503.28
 08/24/2018          TINTRI FedEx
                     ACH OFFSET
                     TINTRI EDGECONNEX                         -$8,310.00                        -$76,813.28
  08/24/2018
                     ACH OFFSET
                     TINTRIOracle                              -$9,600.00                        -$86,413.28
  08/24/2018
                     ACH OFFSET
                     TINTRI Vartopia                          -$10,750.00                         -$97,163.28
  08/24/2018
                     ACH OFFSET
                     TINTRI Boomi                             -$'i5,000.00                       -x912,963.28
  08/24/2018
                     ACH OFFSET
                     TINTRIOnProcess                          -$75,000.00                        -$127,163.28
  08/24/2018
                     ACH OFFSET
                     TINTRI DMadadigan                        -$17,120.86                        -$144,284.14
  08/24/2018
                     ACH OFFSET
                     TINTRI TCashman                           -$18,966.06                       -$763,250.20
  08/24/2018
                     ACH OFFSET
                     TINTRI GUriosfe                           -$26,881.00                       -$190,131.20
  08/24/2018
                     ACH OFFSET
                      WIRE OUT 80824L1877D1C003333{           -$736,000.00                       -$326,137.20
  08/24/2018
                     201823615706;BNF PACHULSKI STA
                     NG ZIEHL AND JONES LLP;O81 CLI
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Analysis Checking - X)C)CXXX8309 (continued)
Account Activity (continued)

 Transaction Date   Description                                    Debits              Credits       Balance

 08/24/2018         WIRE OUT 80824E 1877D1C003606{           -$265,768.52                        -$591,899.72

                    201823616412;BNF FLEXTRONICS 1
                    NTERNATIONAL USA;OBI N451NV01
                    TRANSFER FROM DDA 3300923392                                  $591,899.72           $0.00
 08/24/2018
                    WIRE OUT 182391520200                     -$56,284.69                         -$56,284.69
 08/27/2018
                    201823995202;BNF NORIMASA ONO;
                    O81 EXPENSES REPORTS/ CONSULTI
                    WIRE OUT 1823914581DD                    -$199,835.00                        -$256,119.69
 08/27/2018
                    201823914581;BNF BANKRUPT TINT
                    RI JAPAN G.K. TRUSTEE;OBI TINT
                    TRANSFER FROM DDA 3300923392                                  $256,119.69           $0.00
 08/27/2018
                                                                 -$134.80                            -$134.80
 08/28/2018         TINTRI APereira
                    ACH OFFSET
                                                                 -$200.00                            -$334.80
 08/28/2018         TINTRI GKChaganti
                    ACH OFFSET
                                                                 -$450.92                            -$785.72
  08/28/2018        TINTRI JRace
                    ACH OFFSET
                    TINTRI Facility M                            -$560.45                          -$1,346.17
  08/28/2018
                    ACH OFFSET
                    TINTRI People 2.0                          -$3,382.00                          -$4,728.17
  08/28/2018
                    ACH OFFSET
                    TINTRI TruPartner                         -$12,812.50                         -$17,540.67
  08/28/2018
                    ACH OFFSET
                                                                                    $17,540.67           $0.00
  08/28/2018        TRANSFER FROM DDA 3300923392
                    TINTRI His Health                            -$256.00                            -$256.00      0
  08/29/2018                                                                                                       0
                    ACH OFFSET                                                                                     0
                                                                                                                   0
                                                                                                     -$998.90      0
  08/29/2078        TINTRI Catered2                              -$742.90                                          m


                    ACH OFFSET                                                                                     0
                                                                                                                   0
                    TINTRI JOE DYER                             -$1,320.00                          -$2,318.90     0
  08/29/2018                                                                                                       m
                                                                                                                   0
                    ACH OFFSET
                     TINTRI AST                                 -$1,509.00                          -$3,827.90
  08/29/2018
                                                                                                                   N
                    ACH OFFSET                                                                                     m

                     TINTRIOnProcess                            -$3,427.00                          -$7,254.90     0
                                                                                                                   0
  08/29/2018
                    ACH OFFSET
                     TINTRI DONNELLEY                           -$3,500.00                         -$10,754.90
  08/29/2018
                    ACH OFFSET
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Analysis Checking - ~C~CXX8309 (continued)
Account Activity (continued)

                    Description                                debits              Credits      Balance
 Transaction Date
 08/29/2018         TINTRI SDavis                           -$4,000.00                       -$14,754.90

                    ACH OFFSET
                    TINTRI Jean Zhou                        -$4,400.00                       -$19,154.90
 08/29/2018
                    ACH OFFSET
                    TINTRI MBIRDSALL                        -$5,000.00                       -$24,154.90
 08/29/2018
                    ACH OFFSET
                    TINTRI FedEx                            -$5,963.81                       -$30,178.71
 08/29/2018
                    ACH OFFSET
                    TINTRI AshbyGedde                      -$76,888.40                        -$47,007.11
 08/29/2018
                    ACH OFFSET
                    TINTRI AWS                             -$32,045.00                        -$79,052.11
 08/29/2018
                    ACH OFFSET
                    TINTRI Riemer8rau                      -$77,445.42                       -$756,497.53
 08/29/2018
                    ACH OFFSET
                    CHECK #20232                              -$352.00                       -$156,849.53
  08/29/2018
                    TRANSFER FROM DDA 3300923392                              $156,849.53          $0.00
 08/29/2018
                    TINTRI MArbelaez                           -$97.67                            -$97.67
  08/30/2018
                    ACH OFFSET
                                                              -$150.00                           -$247.67
  08/30/2018        TINTRI ANYBILL
                    ACH OFFSET
                                                              -$200.00                           -$447.67
  08/30/2018        TINTRI82BGateway
                    ACH OFFSET
                                                              -$200.00                           -$647.67
  08/30/2018        TINTRI Corodata
                    ACH OFFSET
                                                              -$2UO.U0                           -$847.67
  08/30/2018        TINTRI CA 1st Aid
                    ACH OFFSET
                                                              -$657.96                         -$1,505.63
  08/30/2018        TINTRI FirstChoi
                    ACH OFFSET
                                                              -$729.00                         -$2,234.63
  08/30/2018        TINTRI Zoom
                    ACH OFFSET
                     TINTRI ACuskelly                       -$7,013.54                         -$3,248.17
  08/30/2018
                    ACH OFFSET
                     TINTRI CSA                              -$1,150.00                        -$4,398.17
  08/30/2018
                    ACH OFFSET
                     TINTRI 1Source HR                       -$3,000.00                        -$7,398.17
  08/30/2018
                    ACH OFFSET
                    Case 18-11625-KJC         Doc 253   Filed 10/17/18       Page 21 of 56


                                                               August 2018
                                                               Reporting Activity 08/01 - 08/31    Page 13 of 16




Analysis Checking - ~(~OCX8309 (continued)
Account Activity (continued)

 Transaction Date   Description                                     Debits              Credits      Balance

                    TINTRI Warden Sec                          -$4,818.24                         -$12,216.41
 08/30/2018
                    ACH OFFSET
                    TINTRI Zuora, Inc                          -$6,575.00                         -$18,791.41
 08/30/2018
                    ACH OFFSET
                    TINTRI FRCO                               -$15,625.00                         -$34,476.41
 08/30/2018
                    ACH OFFSET
                    TINTRI FRCO                               -$75,625.00                         -$50,041.41
 08/30/2018
                    ACH OFFSET
                    TINTRI Zayo Group                         -$16,000.00                          -$66,041.41
 08/30/2018
                    ACH OFFSET
                    WIRE OUT 80830E 1B77D 1 C000214{         -$759,000.00                         -$225,041.41
 08/30/2018
                    201824201674;BNF PACHULSKI STA
                    NG ZIEHL AND JONES LLP;O81 CLI
                    WIRE OUT 80830L1877D1C000212{            -$787,316.69                         -$412,358.10
 08/30/2018
                    201824201672;BNF BOSTON PROPER
                    TIES;O81 INVOICE 2626876SEPT 2
                    WIRE OUT80830L1877D1C000216{              -$282,332.77                        -$694,690.87
  08/30/2018
                    201824201677;BNF 303 MVRP, LLC
                    ;081 TINTRI INCSEPT 2018 RENT
                    CHECK#20237                                 -$7,307.84                        -$695,998.71
  0$/30/2018
                                                                                   $695,998.71           $0.00
  08/30/2018        TRANSFER FROM DDA 3300923392
                                                                   -$43.33                             -$43.33
  08/37/2018        TINTRI ANYBILL
                    ACH OFFSET
                                                                  -$619.97                            -$655.30
  08/37/2018        TINTRI J Davis
                    ACH OFFSET
                                                               -$72,035.00                         -$12,690.30
  08/31/2018        TINTRI 1Source HR
                    ACH OFFSET
                                                               -$27,071.00                         -$39,761.30
  08/31/2018        TINTRI Workday
                    ACH OFFSET
                                                               -$29,644.00                         -$69,405.30
  08/31/2078         TINTRI GUrioste
                    ACH OFFSET
                     TINTRI Coupa                              -$30,000.00                         -$99,405.30
  08/31/2018
                    ACH OFFSET
                     CHECK #20234                                 -$664.62                        -$100,069.92
  08/31/2018
                     CHECK#20229                                  -$898.81                        -$100,968.73
  08/31/2018
                    TRANSFER FROM DDA 3300923392                                    $100,968.73          $0.00
  08/31/2018
                     Ending Balance                                                                      $0.00
  08/31/2018
                     Case 18-11625-KJC                 Doc 253   Filed 10/17/18       Page 22 of 56


                    A                 Its .~                            August 2078
                                                                        Reporting Activity 08/07 - 08/31   Page 14 of 16




Analysis Checking - XXXXXX8309 (continued)

 Checks Cleared

  Check Date    Check Number                   Check Amount         Check Date         Check Number        Check Amount

  08/06/2018              20210                     $202.43         08/14/2018                  20213*          $3,106.12

  08/15/2018             20215"                    $1,068.94        08/14/2018                   20216            $293.55

  08/14/2018              20217                    $2,855.68        08/14/2018                   20218          $1,103.49

  08/16/2018              20219                    $5,000.00        08/20/2018                   20220          $3,187.86

  08/20/2018              20221                      $99.58         08/21/2018                   20222            $208.41

  08/20/2018              20223                     $11Q.00         08/21/2018                   20224         $30,679.17

  08/31/2018             20229'`                    $898.81         08/30/2018                  20231 *         $1,307.84

                          20232                     $352.00         08/31/2018                  20234*            $664.62
  08/29/2018
  "' Indicates skipped check number
                                                      Case 18-11625-KJC                                                                    Doc 253   Filed 10/17/18                                         Page 23 of 56
                  ~.:. ~                 .
                                                                                                                                                                                 August 2018
                                                                                                                                                                                 Reporting Activify 08/01 - 08/37                                                          Page 75 of 16




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#20210                                                 08/06/18                                                       $202.43                        #20213                                         08/14/18                                           $3,106.12

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#20215                                                08/15/18                                            $1,068.94                                  #20216                                              08/14/18                                               $293.55

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#20219                                                08/16/18                                             $5,000.00                                 #20220                                         08/20/18                                           $3,187.86

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#20223                                                 08/20/18                                                       $110.00                        #20224                                         08/21/18                                            $30,679.17
                                     Case 18-11625-KJC                                                Doc 253   Filed 10/17/18                                            Page 24 of 56
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                                                                                                                                       August 2018
                                                                                                                                       Reporting Activity 08/07 - 08/31                                                                 Page 16 of 16




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#20229                                 08/31/18                                     $898.81                     #20231                                           08/30/18                                                $1,307.84

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#20232                                 08/29/18                                     $352.00                     #20234                                              08/31/18                                                 $664.62
                          Case 18-11625-KJC               Doc 253       Filed 10/17/18         Page 25 of 56
     c~~:
     z~rh~

                                                                                 August 2018
                3003 Tasman Drive                                                Reporting Acfivity 08/07 - 08/37             Page 1 of 2
                Santa Clara, CA 95054

      ADDRESS SERVICE REQUESTED
                                                                                      Managing Your Accounts
                                                                                            Phone:             (408)654-4636
     >038528 2$945❑ 001 092196 10Z
      TINTRI INC                                                                    ~.,-~,.~ Toll-Free:        (800)774-7390
      ADEQUATE ASSURANCE DEPOSIT ACC
                                                                                       ~:                       clientservice@svb.com
      303 RAVENDALE DRIVE                                                                   Email:
      MOUNTAIN VIEW CA 94043
                                                                                            Online:             www.svb.com




 Summary of Accounts
                              Account Type                                                       Account Number         Ending Balance

                              Analysis Checking                                                     XXXXXX7808                $20,000.00
                                                                                                                              $20,000.00
                              Total Balance



Analysis Checking - XXXXXX7808
Account Summary
Date       Description
08/01/2018        Beginning Balance                               $20,000.00
08/31!2018        Ending Balance                                  $20,000.00
                  Total debits this period                             $0.00
                  Total credits this period                             $0.00
                  Service Charge                                        $0.00


Account Activity
                                                                                      Debits               Credits             Balance
 Transaction Date         Description
                                                                                                                           $20,000.00
 08/01/2018               Beginning Balance
                          No activity this statement period
                                                                                                                           $20,000.00
 08/31/2018               Ending Balance




              Member                                       ALL SVB AUDIT CONFIRMATION REQUESTS SHOULD BE
 `°"k"ssv~s   FDl~                                    SU~MITTEDTOCAPITALCONFIRMATIONWWW:CONFIRMATION.COM
 LENDER
                                          Case 18-11625-KJC                                     Doc 253                 Filed 10/17/18                     Page 26 of 56
                                                       CHECKS OUTSTANDWG
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BALANCE should agree with your checkbook balance after deducting charges and adding credits not shown in                                             BALANCE                    ; $
checkbook but included on this statement as follows:                                                                                                                            3                  c
                                                                                                  Charge-DEDUCT
Interest-ADD Overdraft-DEDUCT Automatic Payment-DEDUCT Automatic Advance-ADD Service

                                                                                              THAT ARE REPORTED WITHIN
PLEASE REPORT ANY ERRORS OR OMISSIONS PROMPTLY TO US. ERRORS OR OMISSIONS
                              THE   DATE  OF THE LAST STATEMEN T CYCLE  ARE  USUALLY   RESOLVED     MUCH MORE QUICKLY
THE FIRS`I~ 30 DAYS FROM
                                                                   review your statements and report unauthorized use or errors
THAN DATED REQUESTS. As a fraud prevention measure, you need to
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                                                                                                    ❑     Compared canceled                      ❑       Compared deposit amounts on
   ❑         Accounted for
             bank charges?
                                                   ❑            Verified additions and sub-
                                                                tractions in your checkbook?                              checks to check stub?                          statement to your checkbook?

                                                                                                           You can call (800) 774-7390 to
Any charges for imprinted checks include state sales tax computed at the current rate, when applicable. substitute checks or legible
                                                                               provide at least two items (or
request an item or substitute check, or a legible copy. We will without charge
copies) upon request, with respect to each statement.

                                                                                                                  RS
                     IN CASE OF ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC TRANSFE
                                                       (For Consumer Clients)
                                                                                                   Services, 3003 Tasman Drive, Santa
Telephone Silicon Valley Bank at (800) 774-7390 or write us at: Silicon Valley Bank, Attn: Client
                                                  your statement  or your receipt is wrong  or if you need more information about a
Clara, CA 95054, as soon as you can, if you think
                                                                                     after we sent  you the FIRST statement on which the
transfer on the statement or receipt. We must hear from you no later than 60 days
error or problem appeared.

         •   Tell us your name and account number (if any).
                                                                                                        why you believe this is an error or
         •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
             why you need more information.
         •   Tell us the dollar amount of the suspected error.
                                                                                               10 business days to do this, we will credit
 We will investigate your complaint and will correct any error promptly. If we take more than
 your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our
 investigation.

 For questions about preauthorized transfers, please contact us at (800) 774-7390.

                                 IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
                                                                                                   that are forged, altered or other
 You agree to review your statement and to report unauthorized use (checks or other charges
                                                                                        within  which   you must report unauthorized use or
 unauthorized use) or error immediately. Your deposit agreement sets specific times
                                                         that may apply to consumers)  , if you fail to report unauthorized use or errors to
 errors to us. In summary (and subject to special rules
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 us within 30 days after your statement is available, you may be liable for subsequent
                                                precluded from asserting the  unauthorize  d use  or other  error against us. Your statement
 fail to report within 60 days, you may also be                                                                     Agreements may set
                                                                                         agreement      or Related
 is deemed "available" when made available in paper or electronic form. Your deposit
 shorter reporting requirements, such as for  ACH  services.

                                                  FAIR CREDIT REPORTING ACT
 We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account
 may be reflected in your credit report.
                                                           Member of FDIC and Federal Reserve System.
                                                                                                                           ~ All rights reserved.
                         SVB, SVB> and SVB>Find a way are all trademarks of SVB Financial Group. 002013 Silicon Valley Bank
                                                                            Rev. 09-01-13
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                          o          ,_ ..                                         August 2018
                   3003 Tasman Drive                                               Reporting Activity 08/01 - 08/31               Page 1 of8
                   Santa Clara, CA 95Q54
       ADDRESS SERVICE REQUESTED                                                         Managing Your Accounfs
                                                                                              Phone:               (408)654-4636
     >000521 2094865 OOp1 X92196 10Z
     TINTRI, INC.                                                                             Toll-Free:            (800)774-7390
     C/O TRIPLEPOINT CAPITAL LLC
     ATTN: SAJAL SRIVASTAVA, PRESIDENT                                                 ~~~, Email:                  clientservice@svb.com
     2755 SAND HILL RD
     MENLO PARK CA 94025                                                                  ' Oniine:                 www.svb.com




Analysis Checking - XXXXXX3392
Account Summary
Date                Description
08/01/2018          Beginning Balance                                $155.25
08/31/2018          Ending Balance                                   $390.93
                    Total debits this period                  $11,675,102.97
                    Total credits this period                 $11,675,338.65
                    Service Charge                                     $0.00


Account Activity
                                                                                         Debits                 Credits             Balance
 Transaction Date             Description
                                                                                                                                    $155.25
 08/01/2018                   Beginning Balance
                              TRANSFER TO DDA 3300988309                             -$9,835.60                                 -$9,680.35
 08/01/2018
                                                                                                           $9,680.35                  $0.00
 08/01/2018                   CASH SWEEP REDEMPTION
                              REIMBURSEMENT 1805290089 IMX                      -$7,352,441.60                             -$1,352,441.60
 08/02/2018
                              DEPOSIT                                                                           $10.00     -$1,352,431.60
 08/02/2018
                              DEPOSIT                                                                           $268.17    -$1,352,163.43
 08/02/2018
                              DEPOSIT                                                                    $110,423.15       -$1,241,740.28
 08/02/2018
                              TRANSFER TO DDA 3300988309                             -$1,130.00                            -$1,242,870.28
  08/02/2018
                              TRANSFER TO DDA 3301154731                             -$1,092.68                            -$1,243,962.96
  08/02/2018
                              SWEEP FROM DDA 3300955099                                                     $3,238.00      -$1,240,724.96
  08/02/2018
                                                                                                       $1,240,724.96                  $0.00
  08/02/2018                  CASH SWEEP REQEMPTION
                                                                                                                  $1.19               $1.19
  08/03/2018                  U.S. BANK TRUST ACH
                              19-SV1095
                              TINTRI, INC.

               Member                                     ALL SVB AUDIT CONFIRMATION REQUESTS SHOULD BE
 tmauxo~raec   ~plC                                  SUBMITTED TO CAPITAL CONFIRMATION 1NUVW.CONFIRMATION.COM
 LENDER
                                 Case 18-11625-KJC                         Doc 253                Filed 10/17/18                Page 28 of 56




                                                                                                   r          !        RECENT DEPOSITS                                                         ~
                       __. .__     __                               __ i                 _
                                                                       ~      _                                        (NOT CREDITED ON                    i                     i
                                                        ~                                                                                                                        ~             i
                                                                     _ ~                     __                        THIS STATEMENT)                     ~
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                             (                          i       _     _I                                                                                   E~ $                   1
                                                                                                                       SUBTOTAL
                                                                                                                                     _.         _      _                _        ~~._
             }E —               ~               _       ~   _
                                                                                                              i        SUBTRACTTOTAL                       ~                     I
            '            _ _                       _                    ~       -
                                                       I                E                                     [        ITEMS OUTSTANDING                   ~ $
              F                 ~                                                                                                                          ~
              t                                        ~               ~         ~                            (                                                                  ~
                                                                                                                                                           ~
BALANCE should agree with your checkbook balance after deducting charges and adding credits not shown in your           BALANCE                            ~ $
checkbook but included on this statement as follows:                                                                                                       ~                     ~                 ~
InteresFADD Overdraft-DEDUCT Automatic Payment DEDUCT Automatic Advance-ADD Service Charge-DEDUCT

                                                                                                  ARE REPORTED WITHIN
PLEASE REPORT ANY ERRORS OR OMISSIONS PROMPTLY TO US. ERRORS OR OMISSIONS THAT
     FIRST   30 DAYS   FROM   THE   DATE  OF THE LAST STATEMEN T CYCLE ARE USUALLY  RESOLVED     MUCH MORE QUICKLY
THE
                                                                                                              d use or errors
THAN DATED REQUESTS. As a fraud prevention measure, you need to review your statements and report unauthorize
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                                                                                       Compared canceled                  ❑     Compared deposit amounts on
   ❑                                     ❑
             Accounted for                           Verified additions and sub-             ~
             bank charges?                           tractions in your checkbook?                      checks to check stub?                    statement to your checkbook?

                                                                                                           You can call (800) 774-7390 to
Any charges for imprinted checks include state sales tax computed at the current rate, when applicable.
                                                                        charge provide at least two items (or substitute checks or legible
request an item or substitute check, or a legible copy. We will without
copies) upon request,  with respect to each statement.

                                                                                                                      S
                     IN CASE OF ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC TRANSFER
                                                          (For Consumer Clients)
                                                                                                     Services, 3003 Tasman Drive, Santa
Telephone Silicon Valley Bank at (800) 774-7390 or write us at: Silicon Valley Bank, Attn: Client
                                   can, if you think your statement or your receipt is wrong  or if you need more information about a
Clara, CA 95054, as soon as you
                                                                        than 60 days   after we sent  you the FIRST statement on which the
transfer on the statement or receipt. We must hear from you no later
error or problem appeared.

      •      Tell us your name and account number (if any).
                                                                                                                believe this is an error or
      •      Describe the error ar the transfer you are unsure about, and explain as clearly as you can why you
             why you need more information.
      •      Tell us the dollar amount of the suspected error.
                                                                                                  business days to do this, we will credit
 We will investigate your complaint and will correct any error promptly. If we take more than 10
                                                                     have the use of the money during the time it takes us to complete our
 your account for the amount you think is in error, so that you will
 investigation.

 For questions about preauthorized transfers, please contact us at (800) 774-7390.

                                  IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
                                                                                                            are forged, altered or other
 You agree to review your statement and to report unauthorized use (checks or other charges that
                                                                                     times within  which   you  must report unauthorized use or
 unauthorized use) or error immediately. Your deposit agreement sets specific
                                   subject to special rules that may apply to  consumers) , if you fail to report  unauthorized use or errors to
 errors to us. In summary (and
                                                                           for subsequent   unauthorize    d use  by the same wrongdoer. If you
 us within 30 days after your statement is available, you may be liable
                                you  may also  be precluded  from asserting  the unauthorize  d use  or other  error against us. Your statement
 fail to report within 60 days,
                                                                       form.   Your deposit agreement      or Related  Agreements may set
 is deemed "available" when made available in paper or electronic
 shorter reporting requirement   s, such as for ACH   services.

                                                     FAIR CREDIT REPQRTING ACT
 We may report information about    your account to credit bureaus. Late payments, missed payments, or other defaults on your account
 may be reflected in your credit report.
                                                       Member of FDIC and Federal Reserve System.
                                                                                                                                    reserved.
                     SVB, SVB> and SVB>Find a way are ail trademarks of SVB Financial Group. 002013 Silicon Valley Bank~ All rights
                                                                        Rev. 09-01-13
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                                                                        August 2018
                                                                        Reporting Activity 08/01- 08/31       Page 3 of8




Analysis Checking - XXXXX)(3392 (continued)
Account Activity (continued)

                             Description                                       Debits           Credits        Balance
 Transaction Date
                             TRANSFER TO DDA 3300988309                -$653,267.33                        -$653,266.14
 08/03/2078
                             TRANSFER TO DDA 3301154731                 -$25,641.25                        -$678,907.39
 08/03/2018
                                                                                            $678,907.39          $0.00
 08/03/2018                  CASH SWEEP REDEMPTION
                                                                       -$128,359.27                        -$128,359.27
 08/06/2018                  REIMBURSEMENT 18052900891MX
                             TRANSFER TO DDA 3300988309                       -$202.43                     -$728,561.70
 08/06/2018
                                                                         -$8,485.67                        -$137,047.37
 08/06/2018                  TRANSFER TO DDA 3301954131
                                                                          y                 $137,047.37          $p,00
 08/06/2018                  CASH SWEEP REDEMPTION
                                                                        -$11,780.12                         -$11,780.12
 08/07/2018                  TRANSFER TO DDA 3300988309
                                                                                             $11,780.12           $0.00
 08/07/2018                  CASH SWEEP REDEMPTION
                                                                        -$35,244.99                         -$35,244.99
 08/08/2018                  JULYINTEREST/TINTRI
                                                                       -$209,342.73                        -$244,587.12
  08/08/2018                 TRANSFER TO DDA 3300988309
                                                                         -$8,501.82                        -$253,088.94
  08/08/2018                 TRANSFER TO DDA 3301154131
                                                                                            $740,274.79     $487,185.85
  08/08/2018                 SWEEP FROM DpA 3300955091
                                                                                            $175,997.81     $663,183.66
  08/08/2018                 CASH SWEEP REDEMPTION
                                                                        -$26,423.83                         $636,759.83
  08/09/2018                 TRANSFER TO DDA 330098$309
                                                                         -$1,492.06                         $635,267.77
  08/09/2018                 TRANSFER TO DDA 3301154131
                                                                                            $165,710.23     $800,978.00
  08/09/2018                 SWEEP FROM DDA 3300955091
                                                                       -$750,269.13                          $50,708.87
  08/09/2018                 CASH SWEEP PURCHASE
                                                                              -$268.94                       $50,439.93
  08/10/2018                 SMARTNFINAL43211004322
                             MOUNTAIN VIEW CA
                             Ref1541019KDV1 Crd6273 Dt 8/09
                                                                              -$701.16                       $49,738.77
  08/10/2018                 PANTHEON SYSTEMS INC
                             8559279387 CA
                             Ref5542950KEJH Crd6265 Dt 8/09
                                                                       -$234,605.27                        -$184,866.50    0
                                                                                                                           0
  08/10/2018                 TRANSFER TO DDA 3300988309                                                                    a
                                                                                            $638,139.06     $453,272.56    0
  08/10/2018                 SWEEP FROM DDA 3300955091                                                                     0
                                                                        -$452,179.39                          $1,093.1 7
  08/10/2018                 CASH SWEEP PURCHASE
                                                                              -$322.20                          $770.97    0
                                                                                                                           0
  08/13/2018                 SPREADZ
                                                                                                                           i
                                                                                                                           ,~
                             SANTA CLARA CA                                                                                N



                              Ref5543687KFJN Crd6273 Dt 8/10
                                                                              -$812.66                           -$41.69
  08/13/2018                 PANTHEON SYSTEMS INC
                                                                                                                           "'
                              8559279387 CA                                                                                N

                                                                                                                           a
                              Ref5542950KFJH Crd6265 Dt 8/10
                                                                         -$66,416.87                         -$66,458.56
  08/13/2018                  TRANSFER TO DDA 3300988309
                                                                        -$408,271.77                        -$474,730.33
  08/13/2018                  TRANSFER TO DDA 3301154131
                                                                                             $369,341.20    -$105,389.13
  08/13/2018                  SWEEP FROM DDA 3300955091
                                                                                             $105,389.13          $0.00
  08/13/2018                  CASH SWEEP REDEMPTION
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                                                                       August 2018
                                                                       Reporting Activity 08/01 - 08/31      Page 4 of8




Analysis Checking - XXXXXX3392 (continued)
Account Activity (continued)

                             Description                                    Debits              Credits       Balance
 Transaction Date
                             WIRE IN 18081411B7031R008946                                    $1,130.00      $1,130.00
 08/14/2018
                             201822610512;ORG BUSINESS WIRE
                              INC., A/P ACCOUNT;OBI REFUND
                             TRANSFER TO DDA 3300988309                -$32.944.93                         -$31,814.93
 08/94/2018
                             TRANSFER TO DDA 3301154131                 -$6,327.60                         -$38,142.53
 08/94/2018
                             SWEEP FROM DDA 3300955091                                      $53,205.50     $15,062.97
 08/14/2018
                             CASH SWEEP REDEMPTION                                          $38,142.53     $53,205.50
 08/14/2018
                             REIMBURSEMENT 1805290089 /MX             -$787,807.71                        -$734,602.27
 08/15/2018
                             TRANSFER TO DDA 3300988309                -$47,576.25                        -$782,178.46
 08/15/2018
                             SWEEP FROM DDA 3300955091                                     $410,317.00    -$371,861.46
 08/15/2078
                             SWEEP FROM DDA 3301154131                                          $204.78   -$371,657.28
  08/15/2018
                             CASH SWEEP REDEMPTION                                         $375,647.69       $3,990.41
 08/15/2018
                                                                                             $53,233.28    $57,223.69
  08/16/2018                 NAVIA BENEFIT SO AGENCY PAY
                             TNR
                             TINTRI
                             TRANSFER TO DDA 3300988309               -$104,000.00                         -$46,776.39
  08/16/2018
                             TRANSFER TO DDA 3301154731                 -$1,368.00                         -$48,144.31
  08/16/2018
                                                                                           $189,097.00     $140,952.69
  08/16/2018                 SWEEP FROM DDA 3300955091
                                                                      -$140,495.04                            $457.65
  08/16/2018                 CASH SWEEP PURCHASE
                                                                           -$76.15                             $381.50
  08/17/2018                 SMARTNFINAL43211004322
                             MOUNTAIN VIEW CA
                             Ref1541019KLV1 Crd6273 Dt 8/16
                                                                          -$381.50                               $0.00
  08/17/2018                 ASSEMBLA, INC.
                             7813431781 MA
                             Ref5542950KLS0 Crd6265 Dt $/16
                             TRANSFER TO DDA 3300988309                -$38,111.75                         -$38,11 1.75
  08/17/2018
                             TRANSFER TO DDA 3301154131                -$20,276.43                         -$58,388.18
  08/17/2018
                                                                                             $58,699.65        $311.47
  08/17/2018                 CASH SWEEP REDEMPTION
                                                                          -$357.91                             -$46.44
  08/20/2018                 SPREADZ
                             SANTA CLARA CA
                             Ref5543687KNJN Crd6273 Dt 8/17
                                                                         -$3,397.44                         -$3,443.88
  08/20/2018                  TRANSFER TO DDA 3300988309
                              TRANSFER TO DDA 3301154131                  -$812.25                           -$4,256.13
  08/20/2018
                             SWEEP FROM DDA 3300955091                                       $93,074.95     $88,818.82
  08/20/2018
                                                                        -$66,600.76                         $22,218.06
  08/20/2018                  CASH SWEEP PURCHASE
                    Case 18-11625-KJC          Doc 253   Filed 10/17/18       Page 31 of 56




Analysis Checking - XXX)CXX3392 (continued)
Account Activity (continued)
                                                                   Debits            Credits        Balance
 Transaction Date   Description
                                                                 -$124.31                         $22,093.75
 08/21/2018         SMARTNFINAL44811004488
                    SANTA CLARA CA
                    Ref1541019KRV1 Crd6273 Dt 8/20
                                                               -$31,467.58                        -$9,373.83
 08/21/2018         TRANSFER TO DDA 3300988309
                                                                -$2,871.93                       -$12,245.76
 08/21/2078         TRANSFER TO DDA 3301154131
                                                                                  $13,997.79       $1,752.03
 08/21/2018         CASH SWEEP REDEMPTION
                                                              -$406,936.78                      -$405,184.75
 08/22/2018         REIMBURSEMENT 1805290089 /MX
                                                               -$45,000.00                      -$450,184.75
 08/22/2018         TRANSFER TO DDA 3300988309
                                                                                 $688,927.90     $238,743.15
 08/22/2018         SWEEP FROM DDA 3300955091
                                                                                     $794.18     $239,537.33
 0$/22/2018         SWEEP FROM DDA 3301 1 541 31
                                                              -$239,346.33                           $191.00
 08/22/2018         CASH SWEEP PURCHASE
                                                                -$1,535.42                        -$1,344.42
 08/23/2018         TRANSFER TO DDA 3301154131
                                                                                  $14,890.00      $13,545.58
 08/23/2018,        SWEEP FROM DDA 3300955091
                                                               -$13,272.16                           $273.42
  08/23/2018        CASH SWEEP PURCHASE
                                                                                      $71.36         $344.78
  08/24/2018        DEPOSIT
                                                                                     $133.70         $478.48
  08/24/2018        DEPOSIT
                                                                                     $399.73         $878.21
  08/24/2018        DEPOSIT
                                                                                  $15,820.74      $16,698.95
  08/24/2018        DEPOSIT
                                                                                $1,806,000.00   $1,822,698.95
  08/24/2018        WIRE IN 180824L1B78H1C002314
                    201823614371;ORG TRIPLEPOINT F
                    INANCIAL LLC;OBI DIP FUNDING
                                                                   -$82.42                      $1,822,616.53
  08/24/2018        SMARTNFINAL43211004322
                    MOUNTAIN VIEW CA
                    Ref1541019KVV1 Crd6273 Dt 8/23
                                                                   -$95.00                      $1,$22,521.53
  08/24/2018        SPECIALTY S CAFE & BAK
                    415-3622052 CA
                    Ref7526586KVT6 Crd6273 Dt 8/22
                                                               -$591,899.72                     $1,230,621.81
  08/24/2018        TRANSFER TO DDA 3300988309
                                                                                  $659,761.93   $1,890,383.74
  08/24/2018         SWEEP FROM DDA 3300955091
                                                             -$1,874,491.64                        $15,892.10
  08/24/2018         CASH SWEEP PURCHASE
                                                                    -$96.00                        $15,796.10
  08/27/2018         SPECIALTY S CAFE & BAK
                     415-3622052 CA
                     Ref7526586KWTQ Crd6273 Dt 8/23
                                                                 -$3,093.04                        $12,703.06
  08/27/2018         ANALYSIS SERVICE CHARGE
                                                               -$256,119.69                      -$243,416.63
  08/27/2018         TRANSFER TO DDA 3300988309
                                                                                  $243,533.04         $116.41
  08/27/2018         CASH SWEEP REDEMPTION
                    Case 18-11625-KJC           Doc 253   Filed 10/17/18       Page 32 of 56
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                                      ,~                        August 2018
                                  ~~ .
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Analysis Checking - XX)CXXX3392 (continued)
Account Activity (continued)
                                                                    Debits              Credits        Balance
 Transaction Date   Description
                                                                   -$74.41                              $42.00
 08/28/2018         SMARTNFINAL44811004488
                    SANTA CLARA CA
                    Ref1541019KZV1 Crd6273 Dt 8/27
                                                                -$17,540.67                         -$17,498.67
 08/28/2018         TRANSFER TO DDA 3300988309
                                                                  -$318.00                          -$17,816.67
 0$/28/2018         TRANSFER TO DDA 3301154131
                                                                                     $18,533.34         $716.67
 08/28/2018         CASH SWEEP REDEMPTION
                                                                    -$40.00                             $676.67
 08/29/2018         SAFEWAY #700
                    SANTA CLARA CA
                    Ref5531020LOWQ Crd6273 Dt 8/27
                                                                   -$217.99                             $458.68
 08/29/2018         POPEYE'S CHICKEN #1011
                    SUNNYVALE CA
                    Ref5550036L15S Crd6273 Dt 8/28
                                                                   -$381.50                              $77.18
  08/29/2018        ASSEMBLA, INC.
                    7813431781 MA
                    Ref5542950LOS1 Crd6265 Dt 8/28
                                                               -$156,849.53                        -$156,772.35
  08/29/2018        TRANSFER TO DDA 3300988309
                                                               -$134,957.02                         -$291,729.37
  08/29/2018        TRANSFER TO DDA 3301154131
                                                                                    $291,976.55         $247.18
  08/29/2018        CASH SWEEP REDEMPTION
                                                                                         $381.50        $628.68
  08/30/2018        ASSEMBLA, INC.
                    7813431781 MA
                     Ref5542950L1S1 Crd6265 Dt 8/29
                                                                     -$65.00                            $563.68
  08/30/2018         THE UPS STORE 1847
                     MOUNTAIN VIEW CA
                     Ref5543286L25S Crd6273 Dt 8/29
                                                                     -$75.18                             $488.50
  08/30/2018         3515 EL POLLO LOCO
                     SUNNYVALE CA
                     Ref2524780L104 Crd6273 Dt 8/28
                                                                    -$105.00                             $383.50
  08/30/2018         ASSEMBLA, INC.
                     7813431781 MA
                     Ref5542950L1S1 Crd6265 Dt 8/29
                                                                -$695,998.71                        -$695,615.21
  08/30/2018         TRANSFER TO DDA 3300988309
                                                                -$324,422.71                       -$7,020,037.92
  08/30/2078         TRANSFER TO DDA 3301154131
                                                                                     $266,796.80    -$753,241.12
  08/30/2018         SWEEP FROM DDA 3300955091
                                                                                     $753,342.81         $101.69
  08/30/2018         CASH SWEEP REDEMPTION
                                                                                         $485.10         $586.79
  08/31/2018         DEPOSIT
                    Case 18-11625-KJC          Doc 253   Filed 10/17/18       Page 33 of 56
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                r
                                                               August 2078                                          J
                                                                Reporting Activity 08/01 - 08/37       Page 7 of8




Analysis Checking - X)00(J(X3392 (continued)
Account Activity (continued)
                                                                     Debits              Credits       Balance
 Transaction date   Description
                                                                                     $84,578.48      $85,165.27
 08/31/2018         WIRE IN 180831MMQFMPQC000143
                    201824328545;ORG DATADIRECT NE
                    TWORKS INC;OBI 1 WEEK PAYROLL
                                                                  -$101.69                           $85,063.58
 08/31/2018         SMARTNFINAL43211004322
                    MOUNTAIN VIEW CA
                    Ref1541019L2V1 Crd6273 Dt 8/30
                                                              -$100,968.73                          -$15,905.15
 08/31/2018         TRANSFER TO DDA 3300988309
                                                               -$63,413.39                           -$79,318:54
 08/31/2018         TRANSFER TO DDA 3301154131
                                                                                  $1,155,229.00    $1,075,910.46
 08/31/2018         SWEEP FROM DDA 3300955091
                                                             -$1,075,519.53                             $390.93
 08/31/2018         CASH SWEEP PURCHASE
                                                                                                        $390.93
 08/31/2018         Ending Balance
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                                    August 2018
                                    Reporting Activ/ty 08/01- 08/31   Page 8 of8




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                                                                               August 2018
                  3003 Tasman Drive                                            Reporting Activity 08/01 - 08/31             Page 1 of6
                  Santa Clara, CA 95054

     ADDRESS SERVICE REQUESTED
                                                                                      Managing Your Accounts
                                                                                         Phone:               (408)654-4636
    >~Q0506 2094865 001 092196 10Z
     TINTRI, INC.                                                                        Toll-Free:           (800)77a-7390
     C/O TRIPLEPOINT CAPITAL PLC
     ATTN: SAJAL SRIVASTAVA, PRESIDENT                                                   Email:               clientservice@svb.com
     2755 SAND HILL RD
     MENLO PARK CA 94025                                                          '      Oniine:              www.svb.com




`~ Summary of Accounts
                                                                                               Account Number         Ending Balance
                                Account Type
                                                                                                  XXXXXX5091                     $0.00
                                Analysis Checking
                                                                                                                                  $0.00
                                Total Balance



Analysis Checking - X~(XX5091
Account Summary
Date       Description
08/01/2018 Beginning Balance                                          $0.00

08/31/2018          Ending Balance                                    $0.00
                    Total debits this period                 $5,448,003.36
                    Total credits this period                $5,448,003.36
                    Service Charge                                    $0.00


Account Activity
                                                                                      Debits              Credits             Balance
 Transaction Date           Description
                                                                                                                                $0.00
 08/01/2018                 Beginning Balance
                                                                                                        $3,238.00           $3,238.00
 08/02/2018                 REGMANGR1 6873 CCD+
                            0000294407                                                                                                    0
                                                                                                                                          0
                            TINTRI
                                                                                 -$3,238.00                                     $0.00     0
  08/02/2018                SWEEP TO DDA 003300923392                                                                                     r
                                                                                                      $663,183.66       $663,183.66
  08/08/2018                 LOCKBOX DEPOSIT                                                                                              0
                                                                                                                        $712,511.96       0
                                                                                                       $49,328.30
  08/08/2018                SOVEREIGN SYSTEM TINTRI
                                                                                                                                          0
                             TINTRI1                                                                                                      0
                                                                                                                                          a
                             TINTF21
                                                                                                       $27,762.83        $740,274.79      0
  08/08/2018                 WIRE IN 180808B6B7001C000479
                                                                                                                                          0
                             201822003992;ORG ARROW ECS INT                                                                               a
                                                                                                                                          0
                             ERNET SECURITY AG;OBI AS ADVIS
                                                                               -$740,274.79                                     $0.00
  08/08/2018                 SWEEP TO DDA 003300923392



              Member                                     ALL SVB AUDIT CONFIRMATION REQUESTS SHOULD BE
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                                                      Case 18-11625-KJC                                            Doc 253            Filed 10/17/18                         Page 36 of 56
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               ....,.                                                    CHECKS OUTSTANDING
                                                                                                                                                                                 CHECKBOOK RECONCILIATION
                            AMOUNT                               DATE             j           AMOUNT                      DATE         AMOUNT
DATE
OR#                                                              OR#                                                      OR#
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                        I                                                                                                                                         '.
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                                                 ._      _                                                                                                             SUBTOTAL                    ~ $
                                                                                                                                                  a                                                3


                                                                                      ~            _          ~€                                      E _         ~ SUBTRACT TOTAL
                        r                    ~                                                                                                                      ITEMS OUTSTANDING                  ~ $
                                                                        E       '
                                                                                                                                                                  ~                                i
                                                                                    credits not shown in your
BALANCE should agree with your checkbook balance after deducting charges and adding                                                                                    BALANCE                     !$
checkbook but included on this statement as follows:
                                              PaymenFDE DUCT   Automatic  Advance-ADD    Service Charge-DEDUCT
Interest-ADD Overdratt•DEDUCT Automatic

                                                                           OR OMISSIONS THAT ARE REPORTED WITHIN
PLEASE REPORT ANY ERRORS OR OMISSIONS PROMPTLY TO US. ERRORS                       Y RESOLVED MUCH MORE QUICKLY
                                          LAST  STATEM   ENT CYCLE    ARE  USUALL
THE FIRST 30 DAYS FROM THE DATE OF THE
                                                                        your statemen ts and report unauthorized use or errors
THAN DATED REC~UESTS. As a fraud prevention measure, you need to review
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                                                               Verified additions and sub-                       ❑      Compared canceled                            ❑    Compared deposit amounts on
   ❑                    Accounted for
                        bank charges?
                                                                 ❑
                                                                               tractions in your checkbook?                             checks to check stub?                             statement to your checkbook?

                                                                                  rate, when applicable. You can call (800) 774-7390 to
Any charges for imprinted checks include state sales tax computed at the current
                                                                        charge provide at least two items (or substitute checks or legible
request an item or substitute check, or a legible copy. We will without
copies) upon request, with respect to each statement.

                                                                                                         TRANSFERS
                      IN CASE OF ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC
                                                       (For  Consume     r Clients)
                                                                          Valley Bank, Attn: Client Services, 3003 Tasman Drive, Santa
 Telephone Silicon Valley Bank at (800) 77~-7390 or evrite us af: Silicon
                                                                    or your receipt is wrong or if you need more information about a
 Clara, CA 95054, as soon as you can, if you think your statement
                                                                             60 days after we sent you the FIRST statement on which the
 transfer on the statement or receipt. We must hear from you no later than
 error or problem appeared.

           •            Tell us your name and account number (if any).
                                                                                                clearly as you can why you believe this is an error or
           •            Describe the error or the transfer you are unsure about, and explain as
                        why you need more information.
           •            Tell us the dollar amount of the suspected error.
                                                                          If we take more than 10 business days to do this, we will credit
 We will investigate your complaint and will correct any error promptly.
                                                                                  of the money during the time it takes us to complete our
 your account for the amount you think is in error, so that you will have the use
 investigation.
                                                                                                                                                      .
 For questions about preauthorized transfers, please contact us at (800) 774-7390

                                 IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
                                                                               or other charges that are forged, altered or other
 You agree to review your statement and to report unauthorized use (checks
                                                                                 times within which you must report unauthorized use or
 unauthorized use) or error immediately. Your deposit agreement sets specific
                                                                  apply  to consumer s), if you fail to report unauthorized use or errors to
 errors to us. In summary (and subject to special rules that may
                                                                            subsequent unauthorized use by the same wrongdoer. If you
 us within 30 days after your statement is available, you may be liable for
                                                          from asserting  the unauthorized use or other error against us. Your statement
 fail to report within 60 days, you may also be precluded
                                                                                         agreement or Related Agreements may set
 is deemed "available" when made available in paper or electronic form. Your deposit
 shorter reporting requirements, such as for ACH services.

                                                   FAIR CREDIT REPORTING ACT
                                                                               ,       payments, or other defaults on your account
  We may report information about your account to credit bureaus. Late payments missed
  may be reflected in your credit report.
                                                                 Member of FDIC and Federal Reserve System.
                               SVB, SVB> and SVB>Find a way are all trademarks of SVB Financial Group. 002013 Silicon Valley Bank. All rights reserved.
                                                                                  Rev. 09-01-13
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                                                              August 2078
                                                              Reporting Activity 08/01- 08/31      Page 3 of6




Analysis Checking - XXXXXX5091 (continued)
Account Activity (continued)
                                                                  Debits              Credits       Balance
 Transaction Date   Description
                                                                                  $62,222.00     $62;222.00
 08/09/2018         IBM PAYMENTS
                    2304023307
                    TINTRI INC
                                                                                 $103,488.23     $165,710.23
 08/09/2018         WIRE IN 180809B1QGC06C002144
                    201822104889;ORG ARROW ECS AG;
                    OBI INVC012059, INVC012295;REF
                                                             -$165,710.23                              $0,00
 08/09/2018         SWEEP TO DDA 003300923392
                                                                                 $293,785.15     $293,785.15
 08/10/2018         SOVEREIGN SYSTEM TINTRI
                    TINTRI1
                    TINTRI
                                                                                  $344,353.91    $638,139.06
 08/10/2018         WIRE IN 180810B6B7HU2R003945
                    201822206964;ORG LAN SOLUTIONS
                    (GAUTENG)(PTY) LTD;OBI IMPOR
                                                             -$638,139.06                              $0.00
  08/10/2018        SWEEP TO DDA 003300923392
                                                                                  $281,397.00    $281,397.00
  08/13/2018        IBM PAYMENTS
                    2304024102
                    TINTRI INC
                                                                                     $3,489.20   $284,886.20
  08/13/2018        WIRE IN 182251128800
                    201822511288;ORG WHIPCORD LTD;
                    OBI INVC012361;REF C789245BBK0
                                                                                   $84,455.00    $369,341.20
  08/13/2018        WIRE IN 180813G1B76E2C000456
                    201822505399;ORG TECHNOBIND SO
                     LOTIONS SINGAPORE PTE.;REF 001
                                                              -$369,341.20                             $0.00
  08/13/2018         SWEEP TO DDA 003300923392
                                                                                    $53,205.50    $53,205.50    a
  08/14/2018         LOCKBOX DEPOSIT                                                                            a
                                                                                                                0
                                                               -$53,205.50                             $0.00
  08/14/2018         SWEEP TO DDA 003300923392                                                                  0
                                                                                                                0
                                                                                    $14,800.00     $14,800.00
  08/15/2018         WIRE IN 180815MMQFMP9M005063                                                               .~
                     201822700777;ORG KANEMATSU ELE                                                             0
                                                                                                                a
                     CTRONICS LTD.;OBI REMITTANCE F                                                             0
                                                                                                  $410,317.00   0
                                                                                                                0
                     WIRE IN 180815B6B7HU3R000984                                 $395,517.00
  08/15/2018
                     201822700444;ORG FUJITSU LIMIT                                                             0
                     ED;REF TT011100064132                                                                      0
                                                              -$410,317.00                              $0.00   0
                                                                                                                0
  08/15/2018         SWEEP TO DDA 003300923392
                                                                                   $188,082.00    $188,082.00
  08/16/2018         IBM PAYMENTS
                     2304024725
                     TINTRI INC
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                         . ~~ ~ ~.,'                          August Zv~s                                         ~
                                                              Reporting Activity 08/07 - 08/31       Page 4 of6




Analysis Checking - XXXX)(X5091 (continued)
Account Activity (continued)
                                                                   Debits              Credits       Balance
 Transaction Date   Description
                                                                                    $1,015.00     $189,097.00
 08/16/2018         WIRE IN 180816MMQFMP9M000358
                    201822800731;ORG MARUBENI INFO
                    RMATIQN SYSTEMS CO.,;OBI PURPO
                                                             -$189,097.00                               $0.00
 08/16/2018         SWEEP TO DDA 003300923392
                                                                                   $22,093.75      $22,093.75
 08/20/2018         LOCKBOX DEPGSiT
                                                                                   $70,981.20      $93,074.95
 08/20/2018         WIRE IN 18082061QGC01C001926
                    201823205922;ORG ARROW ECS AG;
                    REF SWF OF 18/08/20
                                                              -$93,074.95                               $0.00
 08/20/2018         SWEEP TO DDA 003300923392
                                                                                  $688,927.90     $688,927.90
 08/22/2018         SOVEREIGN SYSTEM TINTRI
                    TINTRI1
                    TINTRI
                                                             -$688,927.90                               $0.00
  08/22/2018        SWEEP TO DDA 003300923392
                                                                                    $14,890.00      $14,890.00
  08/23/2018        GA FINANCIAL COM ACH
                    AP0000028174
                    TINTRI, Inc.
                                                              -$14,890.00                                $0.00
  08/23/2018        SWEEP TO DDA 003300923392
                                                                                    $55,368.00      $55,368.00
  08/24/2018        WIRE IN 180824B1Q9282C000642
                    201823600699;ORG ZERO ONE TECH
                    NOLOGY CO.,LTD;REF 8AQQH834497
                                                                                   $604,393.93     $659,761.93
  08/24/2018        WIRE IN 180824MMQFMP9M000502
                    201823600565;ORG NOX CO.,LTD.
                                                              -$659,761,93                               $0.00
  08/24/2018        SWEEP TO DDA 003300923392
                                                                                      $7,315.00      $7,315.00
  08/30/2018         WIRE IN 180830MMQFMP9M000715
                     201824200968;ORG MARUBENI INFO
                     RMATION SYSTEMS CO.,;OBI PURPO
                                                                                   $259,481.80     $266,796.80
  08/30/2018         WIRE IN 180830B1QGC05C001855
                     201824206700;ORG ARROW ECS AG;
                     REF SWF OF 18/08/30
                                                              -$266,796.80                               $0.00
  08/30/2018         SWEEP TO DDA 003300923392
                                                                                   $328,229.00     $328,229.00
  08/31/2018         WIRE IN 18083166B7HU2R001250
                     201824300663;ORG FUJITSU LIMIT
                     ED;REF TT011100104227
                                                                                   $827,000.00    $1,155,229.00
  0$/31/2018         WIRE IN 180831GMQFMP01024457
                     201824326078;ORG PACHULSKI STA
                     NG ZIEHL &;OBI KERP TINTRI WIN
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                                                             Augusf 2018
                                                             Reporting Acfivity 08/01 - 08/37   Page 5 of6




Analysis Checking - XXXXXX5091 (continued)
Account Activity (continued)
                                                                  Debits              Credits   Balance
 Transaction Date   Description
                                                          -$1,155,229.00                          $0.00
 08/31/2018         SWEEP TO DDA 003300923392
                                                                                                   $0.00
 08/31/2018         Ending Balance
Case 18-11625-KJC   Doc 253   Filed 10/17/18      Page 40 of 56


                                    August 2078
                                    Reporting Activity 08/07 - 08/37   Page 6 of 6




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              ,                                                                                                                  August 208                                       J
                                                                                                                                Reporting Activity 08/01 - 08/31        Page 7 of 4




                                                                                                                               ~        Managing' Your Accounts
                                                                                                                                 ~~j~     Phone:          (408)654-4636

TINTRI INC                                                                                                                                Toll-Free:      (800)774-7390
303 RAVENDALE pRIVE
MOUNTAIN VIEW CA 94043                                                                                                                    Email:           clientservice@svb.com

                                                                                                                                          Online:          www.svb.com


DDA #: XXXXXX3392                            Target Balance: $0,00


                                     MessageslN oti#ications                                                                            Month-End Allocation


                                                                                                                                                                      Gov't
                                                                                                                                   100%
                                                                                                                                                                      Prime
                                                                                                                                                                      Treasury




SVB Cash Sweep Summary -Account J(J{XXXX0629
                                                                                                                              Month-End                Net Monthly         Avg. Gross
                                                         CUSIP                Ticker                    Avg. Monthly
Fund Name                                                                                                    Balance            Position            Income Earned*             Yield**

                                                                                                                            $2,006,198.78                 $2,170.96              1.780%
                                                        092500804             BCHXX                    $1,530,139.71
BlackRock Liquidity:T-Fund Capital
                                                                                                                            $2,006,198.78                 $2,170.96
Totals
                                                                                             paid on the first day of the
     Nei Monthly Income Eamed represents dividends earned in the current month, which are
     following month, less bank sweep fees.
     Avg. Gross Yield is the annualized average 30 day yield gross of any bank sweep fees.



                                                 MONEY MARKET MUTUAL FUND INVESTMENTS ARE:
                                                                             NT AGENCY -NOT GUARANTEED BY THE BANK -MAY LOSE VALUE
         NOT ADEPOSIT -NOT FDIC INSURED -NOT INSURED BY ANY FEDERAL GOVERNME




                                                        h000/T000 6LBh00 6G8h00 962TOT2 hBL40
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       ~_                                                                                                         August 2018                                      J
                                                                                                                  Reporting Activity 08/01 - 08/31        Page 2 of 4




SiiB Cash Sweep Activity - ~fackRock L.iquidity:T-Fund Cap9taf
                                                                                           Transaction Amount           Price                        Investment Balance
Date                     Transaction Description
                                                                                                  $630,361.89           $1.00
08/01/2018               Purchase
                                                                                                    $2,688.08           $1.00
08/01/2018               Dividend Reinvest
                                                                                                    ($161.28)           $1.00                             $2,622,944.86
08/01/2018               Fee Charged
                                                                                                   ($9,680.35)          $1.00                             $2,613,264.51
08/02/2018               Redemption
                                                                                               ($1,240,724.96)          $1.00                              $1,372,539.55
08/03/2018               Redemption
                                                                                                 ($678,907.39)          $1.00                               $693,632.16
08106/201 8              Redemption
                                                                                                 ($137,047.37)          $1.00                               $556,584.79
08/07/2018               Redemption
                                                                                                  ($11,780.12)          $1.00                               $544,804.67
08/08/2018               Redemption
                                                                                                 ($175,997.81)          $1.00                               $368,806.86
08/09/2018               Redemption
                                                                                                   $750,269.13          $1.00                              $1,119,075.99
08/10/2018               Purchase
                                                                                                   $452,179.39          $1.00                              $1,571,255.38
08/13/2018               Purchase
                                                                                                 ($105,389.13)          $1.00                              $1,465,866.25
08/14/2018               Redemption
                                                                                                  ($38,142.53)          $1.00                              $1,427,723.72
08/15/2018               Redemption
                                                                                                 ($375,647,69)          $1.00                              $1,052,076,03
08/16/2018               Redemption
                                                                                                   $140,495.04          $1.00                              $1,192,571.07
08/17/2018               Purchase
                                                                                                  ($58,699.65)          $1.00                              $1,133,871.42
08/20/2018               Redemption
                                                                                                    $66,600.76          $1.00                              $1,200,472.18
08/21/2018               Purchase
                                                                                                  ($13,997,79)           $1.00                             $1,186,474.39
08/22/2018                Redemption
                                                                                                   $239,346.33           $1.00                             $1,425,820.72
08/23/2018                Purchase
                                                                                                    $13,272.16           $1.00                             $1,439,092.88
08/24/2018                Purchase
                                                                                                 $1,874,491.64           $1.00                             53,313,584.52
08/27/2018                Purchase
                                                                                                  ($243,533.04)          $1.00                             $3,070,051.48
08/28/2018                Redemption

                                                    MONEY MARKET MUTUAL FUND INVESTMENTS ARE:                                  VALUE
                                                                       GOVERNMENT AGENCY -NOT GUARANTEED BY THE BANK -MAY LOSE
            NOT ADEPOSIT -NOT FDIC INSURED -NOT INSURED BY ANY FEDERAL



                                                   h000/200❑ 09Bh00 OBBh~O 96240T2 h8L4~
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                                                                                                               August 208                                       J
       ,~~t~~~n~t~ZteysB~nk'                                                                                   Reporting Activity 08/01 - 08/31        Page 3 of 4




SVB Cash Sweep Activity - BiackRack Liquidity:`T-fund Capital (continued)
                                                                                         Transaction Amount          Price                        Investment Balance
Date                  Transaction Description
                                                                                                ($18,533.34)         $1.00                             $3,051,518.14
08/29/2018            Redemption
                                                                                               ($291,976.55)         $1.00                             $2,759,541.59
08/30/2018            Redemption
                                                                                               ($753,342.81)         $1.00                             $2,006,198.78
08/31/2018            Redemption




                                               MONEY MARKET MUTUAL FUND INVESTMENTS ARE:
                                                                            T AGENCY -NOT GUARANTEED BY THE BANK -MAY LOSE VALUE
       NOT ADEPOSIT -NOT FDIC INSURED -NOT INSURED BY ANY FEDERAL GOVERNMEN




                                                h000/E0~❑ 4BRh00 4B9h~0 9624~'C2 h9L40
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               :,                                                                    August 2078
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                                        MONEY MARKET MUTUAL FUND INVESTMENTS ARE:
                                                           GOVERNMENT AGENCY -NOT GUARANTEED BY THE BANK -MAY LOSE VALUE
NOT ADEPOSIT -NOT FDIC INSURED -NOT INSURED BY ANY FEDERAL




                                 h~00/h000 288h00 299h00 96220T2 h8L4p
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                                                                                August 2418
             3003 Tasman Drive                                                  Reporting Activity 08/01 - 08/31              Page 1 of 2
             Santa Clara, CA 95054

    ADDRESS SERVICE REQUESTED
                                                                                     Managing Your Accounts
                                                                                          Phone:               (408)654-4636
   >044174 2Q89450 0001 092196 10Z
   TINTRI INC                                                                             Toll-Free:           (800) 774-7390
   DEBTOR-IN-POSSESSION                                                            .-._
   ESPP ACCOUNT                                                                           Email:                ciientservice@svb.com
   303 RAVENDALE DRIVE
    MOUNTAIN VIEW CA 94043                                                                Online:               www.svb.com




 Summary of Accounts ~~                                               ~~~~~~~~~
                                                                                               Account Number           Ending Balance
                           Account Type
                                                                                                  XXXXXX9494                $24,708.30
                           Analysis Checking
                                                                                                                            $24,708.30
                           Total Balance



Analysis Checking - X)(JCXXX9494
Account Summary
Date           Description
08101/2018     Beginning Balance                                $24,708.30
08/31/2018     Ending Balance                                   $24,708.30
               Total debits this period                              $0.00
               Total credits this period                             $0.00
               Service Charge                                        $0.00


Account Activity
                                                                                      Debits                Credits             Balance
 Transaction Date      Description
                                                                                                                           $24,708.30
 08/01/2018            Beginning Balance
                       No activity this statement period
                                                                                                                           $24,708.30
 08/31/2018            Ending Balance




          Member
          ~e.~~/~                                       ALL SVB AUDIT CONFIRMATION REQUESTS SHOULD BE
 mu,wnw   ~    L                                   SUBMITTED 70 CAPITAL CONFIRMATION WWW.CONFIRMATION.COM
 LENDEq
                                  Case 18-11625-KJC                                      Doc 253               Filed 10/17/18                              Page 46 of 56
                                                CHECKS OUTSTANDING
                                                                                                                                                                                          ~~            1
                                                                                                                       ~                     ~                 CHECKBOOK RECONCILIATION                 E
            '                                          ~      ~                               ~ ~
DATE        j     AMOUNT                      DATE                       AMOUNT               DATE                AMOUNT
                                                                                              ORn                                                                                                       t
OR#                                           OR#             ~

             k               (                                3                      3                                           ~                   ENTER                       ~                      i
                                                  ..
                                                                                                                                 E                   BALANCE THIS                   $                   I
                                                                                                                                 I                   STATEMENT__ .            _.. ._. _
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                             '        .__..     . __.         ~ _....             _ +     :...                                                       RECENT DEPOSITS
                             !                                                                           _..        __                   _                                                              4
                                                                                                                                                     (NOT CREDITED ON
             }          _.   €    ...                         !                      ~                   _..      ._            .~                   THIS STATEMENT)              I
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                                                              [                      I


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                             '                                    ~ __               t        _..   ..   _                       4
                                                                                                                                                     SUBTOTAL                    '$            ~            1
                                                                                     ~                                      _    i               _                               '    _
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                                                                                                                                                     SUBTRACT TOTAL               s
                                                                                                                                     E               ITEMS OUTSTANDING            E $          ~            ~
                             1M
                                                                                                                                                                                  i
BALANCE should agree with your checkbook balance after deducting charges and adding credits not shown in your                                        BALANCE                      } $
checkbook but included on this statement as follows:                                                                                                                                                        s
Interest-ADD Overdraft-DEDUCT Automatic Payment-DEDUCT Automatic Advance-ADD Service Charge-DEDUCT

                                                                                                     ARE REPORTFL~ WlTHlN
PLEASE REPORT ANY ERRC~f~S OR OMiSSfONS PROfUIPTLY TQ US. ERRORS OR OMISSIONS THAT
                                    DATE  OF THE LAST STATEMEN T CYCLE  ARE  USUALLY   RESOLVED     MUCH   MORE QUICKLY
THE FIRST 30 DAYS FROM THE
                                                                   review your statements and report unauthorized use or errors
THAN DATED REQUESTS. As a fraud prevention measure, you need to
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                                                                                             ❑        Compared canceled                         ❑        Compared deposit amounts on
   ❑        Accounted for
            bank charges?
                                              ❑            Verified additions and sub-
                                                           tractions in your checkbook?                               checks to check stub?                              statement to your checkbook?

                                                                                                           You can call (800) 774-7390 to
Any charges for imprinted checks include state sales tax computed at the current rate, when applicable.
                                                                                          least two items (or substitute checks or legible
request an item or substitute check, or a legible copy. We will without charge provide at
copies) upon request, with respect to each statement.

                     IN CASE OF ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC TRANSFERS
                                                       (For Consumer Clients)
Telephone Silicon  Valley Bank  at (800) 774-7390 or write us at: Silicon Valley Bank, Attn: Client Services, 3003 Tasman Drive, Santa
                                                                                             or if you need more information about a
Clara, CA 95054, as soon as you can, if you think your statement or your receipt is wrong
transfer on the statement or receipt. We  must hear from  you no  later than 60 days after we  sent you the FIRST statement on which the
error or problem appeared.

       •     Tell us your name and account number (if any).
                                                                                                        why you believe this is an error or
       •     Describe the error or the transfer you are unsure about, and explain as clearly as you can
             why you need more information.
       •     Tell us the dollar amount of the suspected error.
                                                                                                            days to do this, we will credit
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business
                                                                                               during the time it takes us to complete our
 your account for the amount you think is in error, so that you will have the use of the money
 investigation.

 For questions about preauthorized transfers, please contact us at (800) 774-7390.

                                   IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
                                                                                                               are forged, altered or other
 You agree to review your statement and to report unauthorized use (checks or other charges that
                 use)  or error immediately .  Your  deposit agreement   sets  specific times within  which   you  must report unauthorized use or
 unauthorized
                                                                  may  apply  to  consumers),  if you fail to report  unauthorized use or errors to
 errors to us. In summary (and subject to special rules that
                days  after your statement  is available, you may  be  liable for subsequent   unauthorized     use  by the same wrongdoer. If you
 us within 30
                                                              from  asserting   the unauthorized   use  or other  error against us. Your statement
 fail to report within 60 days, you may also be precluded
              "available"  when   made available  in paper or electronic form.    Your deposit agreement      or Related Agreements may set
 is deemed
 shorter reporting requirements, such as for ACH services.

                                                  FAIR CREDIT REPORTING ACT
                                                                                                 or other defaults on your account
 We may report information about your account to credit bureaus. Late payments, missed payments,
 may be reflected in your credit report.
                                                        Member of FDIC and Federal Reserve System.
                                                                                                                                    reserved.
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                                                                        Rev. 09-01-13
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               y    4~.


                                                                                  August 2018
                   3Q03 Tasman Drive                                               Reporting Activity 08/01- 08/37                 Page 1 of8
                   Santa Ciara, CA 95054

    ADDRESS SERVICE REQUESTED
                                                                                            Managing Your Accounts
                                                                                    ~       r
                                                                                    i '. ~        Phone:            (408)654-4636
   >000419 2094865 X001 092196 10Z
    TINTRI, INC.                                                                                  Toll-Free:        (800)774-7390
    C/O TRIPLEPOINT CAPITAL LLC
    ATTN: SAJAL SRIVASTAVA, PRESIDENT                                                    '~~::~   Email:             clientservice@svb.com
    2755 SAND HILL RD
    MENLO PARK CA 94025                                                                           Online:            www.svb.com




 Summary of Accounts
                                                                                                      Account Number         Ending Balance
                                 Account Type
                                                                                                            XXXXXX4131                  $0.00
                                 Analysis Checking
                                                                                                                                        $0.00
                                 Total Balance



Analysis Checking - XXXXXX4131
Account Summary
Date       Description
08/01/2018 Beginning Balance                                             $0.00
08/31/2018           Ending Balance                                      $0.00
                     Tota( debits this period                   $1,012,475.83
                     Total credits this period                  $1,012,475.83
                     Service Charge                                      $0.00


Account Activity
                                                                                            Debits               Credits            Balance
 Transaction Date            Description
                                                                                                                                      $0.00
 08/01/2018                  Beginning Balance
                                                                                        -$1,092.68                               -$1,092.68
 08/02/2018                  NAVIA BENEFIT SO FLEXIBLE 8
                             TNR
                             TINTRI
                                                                                                               $1,092.68              $0.00
 08/02/2018                  TRANSFER FROM DDA 3300923392
                                                                                          -$208.33                                  -$208.33
 08/03/2018                  NAVIA BENEFIT SO FLEXIBLE 8
                              TNR
                              TINTRI
                                                                                          -$240.14                                  -$448.47
  08/03/2018                  NAVIA BENEFIT SO FLEXIBLE B
                              TNR
                              TINTRI
                                                                                   -$22,291.25                                  -$22,739.72
  08/03/2018                  FIDELITY 34416 C FPRS
                              34416 001
                              Tintri Inc

           Member                                          ALL SVB AUDIT CpNFIRMATION REQUESTS SHOULp BE
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 LENDER
                                       Case 18-11625-KJC                   Doc 253             Filed 10/17/18                    Page 48 of 56
                                              CHECKS OUTSTANDING
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BALANCE should agree with your check000k balance after deducting charges and adding credits                                 BALANCE                            $      (            ~
checkbook but included on this statement as follows:                                                                                                       3          i
                                                                                         Service Charge-DEDUCT
Interest-ADD Overdrah-DEDUCT Automatic Payment-DEDUCT Automatic Advance-ADD

                                                                                              NS THAT ARE REPORTED WITHIN
PLEASE REPOI~`l~ ANY ERRORS OR OMISSIONS PROMPTLY TO US. ERRORS OR OMlSSlO                           D MUCH MORE GlUICKLY
                       FROM   THE   DATE  OF THE LAST STATEME NT CYCLE    ARE  USUALLY   RESOLVE
THE FIRST 30 DAYS                                                                                       unauthorized use or errors
                                                         you need to review your statement s and report
THAN DATED REQUESTS. As a fraud prevention measure,
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                         ❑                                                 ❑        Compared canceled                  ❑        Compared deposit amounts on
   ❑         Accounted for
             bank charges?
                                                    Verified additions and sub-
                                                    tractions in your checkbook?                    checks to check stub?                       statement to your checkbook?

                                                                                        when applicable. You can call (800) 774-7390 to
Any charges for imprinted checks include state sales tax computed at the current rate,
                                                                        charge provide at least two items (or substitute checks or legible
request an item or substitute check, or a legible copy. We will without
copies) upon request, with respect to each  statement .

                                                                                                                 ERS
                     IN CASE 4F ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC TRANSF
                                                       (For Consumer Clients)
                                                                                       Attn: Client Services, 3003 Tasman Drive, Santa
Telephone Silicon Valley Bank at (800) 774-7390 or write us at: Silicon Valley Bank,
                                       if   think your statement  or your receipt is wrong   or if you need more information about a
Clara, CA 95054, as soon as you can, you
                                                                              days   after we  sent you the FIRST statement on which the
transfer on the statement or receipt. We must hear from you no later than 60
error or problem appeared.

       •     Tell us your name and account number (if any).
                                                                                     clearly as you can why you believe this is an error or
       •     Describe the error or the transfer you are unsure about, and explain as
             why you need more information.
       •     Tell us the dollar amount of the suspected error.
                                                                                     more than 10 business days to do this, we will credit
 We will investigate your complaint and will correct any error promptly. If we take
                                                                          the use of the money during the time it takes us to complete our
 your account for the amount you think is in error, so that you will have
 investigation.

 For questions about preauthorized transfers, please contact us at (800) 774-7390.

                                 IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
                                                                                or other charges that are forged, altered or other
 You agree to review your statement and to report unauthorized use (checks
                                                                                         within which you must report unauthorized use or
 unauthorized use) or error immediately. Your deposit agreement sets specific times
                                         to special rules that may apply to consumer  s), if you fail to report unauthorized use or errors to
 errors to us. In summary (and subject
                                                                         for subseque  nt unauthori   zed use by the same wrongdoer. If you
 us within 30 days after your statement is available, you may be liable
                                        also be precluded  from asserting  the unauthori zed  use  or other error against us. Your statement
 fail to report within 60 days, you may
                                                                     form.   Your deposit agreemen    t or Related Agreements may set
 is deemed "available" when made available in paper or electronic
 shorter reporting requirements,   such as for ACH  services.

                                                   FAIR CREDIT REPORTING ACT
  We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account
  may be reflected in your credit report.
                                                        Member of FDIC and Federal Reserve System.
                                                                                                                   Bank~ All rights reserved.
                     SVB, SVB> and SVB>Find a way are all trademarks of SVB Financial Group. 002013 Silicon Valley
                                                                        Rev. 09-01-13
                    Case 18-11625-KJC         Doc 253     Filed 10/17/18            Page 49 of 56


                                                                    August 2018
                                                                    Reporting Activity 08/01 - 08/31      Page 3 of 8




Analysis Checking - XXXXXX4131                         continued)


Account Activity (continued)

 Transaction Date   Description                                          Debits              Credits      Balance

                    WIRE OUT 80803L1877D1C001306{                    -$2,901.53                        -$25,641.25
 08/03/2018
                    201821507814;BNF ONESOURCE VIR
                    TUA;REF MNY-0003721779
                    TRANSFER FROM DDA 3300923392                                         $25,641.25          $0.00
 08/03/2018
                    CHECK #10000977                                  -$1,443.67                         -$1,443.67
 08/06/2098
                                                                     -$2,812.35                         -$4,256.02
 08/06/2078         CHECK#10000976
                                                                     -$4,229.65                         -$8,485.67
 08/06/2018         CHECK#10000975
                                                                                          $8,485.67          $0.00
 08/06/2018         TRANSFER FROM DDA 3300923392
                    WIRE OUT 80808L1877D1C001219(                    -$8,501.82                         -$8,501.82
 08/08/2018
                    201822006905;BNF ONESOURCE VIR
                    TUA;REF MNY-0003732449
                    TRANSFER FROM DDA 3300923392                                           $8,501.82         $0.00
 08/08/2018
                                                                       -$493.70                           -$493.70
 08/09/2018         NAVIA BENEFIT SO FLEXIBLE 8
                    TNR
                    TINTRI
                                                                       -$998.36                          -$1,492.06
  08/09/2018        WIRE OUT 80809L1877D1 G001526{
                    201822107517;BNF ONESOURCE VIR
                    TUA;REF MNY-0003736026
                                                                                           $1,492.06         $0.00
  08/09/2018        TRANSFER FROM DDA 3300923392
                                                                      -$5,157.12                         -$5,157.12
  08/13/2018        WIRE OUT 80813E 1877D1 C002387{
                    201822510584;BNF ONESOURCE VIR
                    TUA;REF MNY-0003764346
                    WIRE O UT 80893L1877D 1 C001728{                -$121,693.54                       -$126,850.66
  08/13/2018
                    201822508680;BNF ONESOURCE VIR
                    TUA;REF MNY-0003759074
                     WIRE OUT80813L1877D1C002386{                   -$271,982.53                       -$398,833.79
  08/13/2018
                    201822510581;BNF ONESOURCE VIR
                     TUA;REF MNY-0003764345
                    CHECK #10000978                                   -$1,158.86.                      -$399,992.05
  08/13/2018
                     CHECK #10000980                                  -$2,506.75                       -$402,498.80
  08/13/2018
                    CHECK #70000979                                   -$5,772.97                       -$408,271.77
  08/73/2018
                                                                                        $408,271.77           $0.00
  08/13/2018        TRANSFER FROM DDA 3300923392
                     One5ource Virtua EDIPYMENTS                                           $1,689.47      $1,689.47
  08/14/2018
                     MNY-0003755776
                     Tintri, Inc.
                     CHECK #10000981.                                 -$8,017.07                         -$6,327.60
  08/14/2018
                                                                                           $6,327.60          $0.00
  08/14/2018         TRANSFER FROM DDA 3300923392
                    Case 18-11625-KJC         Doc 253   Filed 10/17/18       Page 50 of 56
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    ~e
                                                              August 2018
                                                              Reporting Activity 08/01 - 08/31     Page 4 of8




Analysis Checking - XXXXXX4131 (continued)
Account Activity (continued)

                    Description                                    Debits              Credits     Balance
 Transaction Date
                    OneSource Virtua EDIPYMENTS                                       $204.18      $204.18
 08/15/2018
                    MNY-0003765098
                    Tintri, Inc.
                    SWEEP TO DDA 003300923392                    -$204.18                             $0.00
 08/15/2018
                                                                  -$10.8&                           -$10.88
 08/16/2098         NAVIA BENEFIT S~ FLEXIBLE 8
                    TNR
                    TINTRI
                                                                 -$587.42                          -$598.30
 08/16/2018         FIDELITY 34416 C FPRS
                    34416 001
                    Tintri Inc
                                                                 -$769.70                        -$1,368.00
 08/16/2018         NAVIA BENEFIT SO FLEXIBLE B
                    TNR
                    TINTRI
                                                                                     $1,368.00        $0.00
 08/16/2018         TRANSFER FROM DDA 3300923392
                                                                 -$937.50                          -$937.50
  08/17/2018        BANK OF AMERICA PLAN FUND
                    TINTR1262906978
                    TINTRI, INC.
                                                                -$1,784.35                        -$2,721.85
  08/17/2018        BANK OF AMERICA PLAN FUND
                     TINTRI262906978
                    TINTRI, INC.
                                                               -$17,554.58                       -$20,276.43
  08/17/2018        FIDELITY 34416 C FPRS
                    34416 002
                     Tintri Inc
                    TRANSFER FROM DDA 3300923392                                    $20,276.43        $0.00
  08/17/2018
                                                                 -$587.42                          -$587.42
  08/20/2018        FIDELITY 34496 C FPRS
                    34416 003
                     Tintri Inc
                                                                  -$224.83                         -$812.25
  08/20/2018         WIRE OUT 80820L1877D1C001621{
                     201823207987;BNF ONESOURCE VIR
                     TUA;REF MNY-0003795543
                                                                                       $812.25        $0.00
  08/20/2018         TRANSFER FROM DDA 3300923392
                                                                  -$208.33                          -$208.33
  08/21/2078         NAVIA BENEFIT SO FLEXIBLE B
                     TNR
                     TINTRI
                                                                  -$900.00                        -$1,108.33
  08/21/2018         BANK OF AMERICA PLAN FUND
                     TINTR1262906978
                     TINTRI, INC.
                       Case 18-11625-KJC         Doc 253   Filed 10/17/18       Page 51 of 56
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                                                                 AUgUSt ZD~B                                         I
                                                                 Reporting Activity 08/01 - 08/31      Page 5 of 8




Analysis Checking - XXX)(XX4131 (continued)
Account Activity (continued)

                       Description                                    Debits              Credits      Balance
 Transaction Date
                       BANK OF AMERICA PLAN FUND                  -$7,763.60                         -$2,871.93
 08/27/2018
                       TINTR1262906978
                       TINTRI, INC.
                       TRANSFER FROM DDA 3300923392                                    $2,871.93          $0.00
 08/21/2018
                       ~neSource Virtua ED{PYMEN?S                                        $794.18       $794.18
 08/22/2018
                       MNY-0003798520
                       Tintri, Inc.
                                                                    -$794.18                              $0.00
 08/22/2018            SWEEP TO DDA 003300923392
                       NAVIA BENEFIT SO FLEXIBLE B                   -$26.73                            -$26.73
 08/23/2018
                       TNR
                       TINTRI
                       CHECK #10000982                            -$1,508.69                          -$1,535.42
 08/23/2018
                                                                                        $1,535.42         $0.00
 08/23/2018            TRANSFER FROM DDA 3300923392
                       NAVIA BENEFIT SO FLEXIBLE B                  -$318.00                           -$318.00
  08/28/2018
                       TNR
                       TINTRI
                                                                                          $318.00         $0.00
  08/28/2018           TRANSFER FROM DDA 3300923392
                       WIRE OUT 80829L7877D1C001515{            -$134,957.02                        -$134,957.02
  08/29/2018
                       201824107189;BNF ONESOURCE VIR
                       TUA;REF MNY-0003835628
                                                                                     $134,957.02          $0.00
  08/29/2018           TRANSFER FROM DDA 3300923392
                       NAVIA BENEFIT SO FLEXIBLE B                  -$416.66                            -$416.66
  08/30/2018
                       TNR
                       TINTRI
                        WIRE OUT 80830E1877D 1 C007576{          -$29,998.08                         -$30,474.74
  08/30/2018
                       201824207964;BNF ONESOURCE VIR
                        TUA;REF MNY-0003838250
                        WIRE OUT 80830L1877D1C001575{            -$294,007.97                       -$324,422.71
  08/30/2018
                       201824207962;BNF ONESOURCE VIR
                        TUA;REF MNY-0003838249
                                                                                      $324,422.71          $0.00
  08/30/2018           TRANSFER FROM DDA 3300923392
                        WIRE OUT 80831L9877D1C002197{             -$63,473.39                        -$63,413.39
  08/31/2018
                        201824309195;BNF ONESOURCE VIR
                        TUA;REF MNY-0003840919
                        TRANSFER FROM DDA 3300923392                                   $63,413.39          $0.00
  08/31/2018
                        Ending Balance                                                                     $0.00
  08/31/2018
                     Case 18-11625-KJC       Doc 253   Filed 10/17/18       Page 52 of 56


                                                             August 2018
                                                              Reporting Activity 08/01- 08/31     Page 6 of8




Analysis Checking - XX3(XXX4131 (continued)

 Checks Cleared
                Check Number         Check Amount         Check Date        Check Number        Check Amount
  Check Date
                                         $4,229.65        08/06/2018               10000976         $2,812.35
  08/06/2018          10000975
                      10000977           $1,443.67        08/13/2018               10000978         $1,158.86
  08/06/2018
                                         $5,772.97        08/13/2018               10000980         $2,506.75
  08/13/2018          10000979
                      10000981           $8,017.07        08/23/2018               10000982         $1,508.69
  08/14/2018
  * Indicates skipped check number
                                                 Case 18-11625-KJC                                                          Doc 253   Filed 10/17/18                              Page 53 of 56

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                                                                                                                                                      August 2018
                                                                                                                                                      Reporting Activity 08/01 - 08/31                                            Page 7 of8




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#10000975                                            08/06/18                                       $4,229.65                         #10000976                                   08/06/18                        $2,812.35



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                                                     08/06/18                                       $1,443.67                         #10000978                                   08/13/18                        $1,158.86
#10000977


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#10000979

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       Case 18-11625-KJC   Doc 253   Filed 10/17/18      Page 54 of 56
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                                           August 2018
                                           Reporting Activity 08/01 - 08/31   Page 8 of8




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                           Case 18-11625-KJC               Doc 253         Filed 10/17/18             Page 55 of 56
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                    ~>

                                                                                     August 2018
                  3003 Tasman Drive                                                  Reporting Activity 08/01 - 08/31              Page 1 of 2
                  Santa. Clara, CA 95054

         ADDRESS SERVICE REQUESTED                                                           Managing Your Accounts
                                                                                                Phone:               (408)654-4636
        >052240 2089450 0001 092196 10Z
         TWTRI INC                                                                              Toll-Free;           (800)77a-7390
         DEBTOR-IN-POSSESSION
         FOR STOCK OPTIONS ACCOUNT                                                              Email:               clientservice@svb.com
         303 RAVENDALE DRIVE
         MOUNTAIN VIEW CA 94043                                                          `      Online:              www.svb.com




     Summary of Accounts
                               Account Type                                                           Account Number         Ending Balance
x                              Analysis Checking                                                          XXXXXX7412                     $0.00
                               Total Balance                                       ~~~                                                  $0.00



Analysis Checking - XXX)C)CX7412
Account Summary
Date       Description
08/01/2018         Beginning Balance                                       $0.00
08/31/2018         Ending Balance                                          $0.00
                   Total debits this period                                $0.00
                   Total credits this period                               $0.00
                   Service Charge                                          $0.00


    Account Activity
     Transaction Date      Description                                                       Debits              Credits           Balance

     08/01/2018            Beginning Balance                                                                                          $0.00
                           No activity this statement period
                           Ending Balance                                                                                             $0.00
     08/31/2018




               Member                                       ALL SVB AUDIT CONFIRMATION REQUESTS SHOULD BE
     i~xoi;~   E'C                                     SUBMITTED TO CAPITAL CQNFIRMATION WWIN.CONFIRMATION.COM
     LENpER
                                       Case 18-11625-KJC                              Doc 253                  Filed 10/17/18                                     Page 56 of 56
                                                             OUTSTANDING_._           _   _        ...        ..   _.        _..      ._      ,..                 _ __......        ...._ ...       _   _             _....
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                  3       AMOUNT             ~ DATE           ~         AMOUNT              DATE                        AMOUNT                                                                                                #
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                                                                                                                                                            SUBTOTAL                            $           ~                  ~
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                                      _                               '                                         ~                                           SUBTRACT TOTAL                 ~                1
                                j                      1                                                                                                    ITEMS OUTSTANDING                   $
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              i                                        !                ~       -                               ~                                                            --                             j
BALANCE should agree with your checkbook balance after deducting charges and adding credits not shown in - your
                                                                                                                                                            BALANCE                        ~ $
checkbook but included on this statement as follows:
                                                                                                                                                                                                                ~              ~
Interest-ApD Overdraft-DEDUCT Automatic Payment-DEDUCT Automatic Advance-ADD Service Charge-DEDUCT


F'LEASC RePOnT ANY. EPRORS CR OMISSIONS PROMPTLY TO US. ERRORS OR OMlSSlC~R~S THAT ARE R~PQRTED WITHIN
THE FIRST 30 DAYS FROM THE DATE OF THE LAST STATEMENT CYCLE ARE USUALLY RESOLVED MUCH MORE QUICKLY
THAN DATED REQUESTS. As a fraud prevention measure, you need to review your statements and report unauthorized use or errors
to us, as explained in more detail below.

If your checkbook and statement do not balance have you:
                                                                                                          ❑                                                                    Compared deposit amounts on
   ❑              Accounted for                  ❑        Verified additions and sub-                                   Compared canceled                              ~
                  bank charges?                           tractions in your checkbook?                                  checks to check stub?                                  statement to your checkbook?

Any charges for imprinted checks include state sales tax computed at the current rate, when applicable. You can call (800) 774-7390 to
request an item or substitute check, or a legible copy. We will without charge provide at least two items (or substitute checks or legible
copies) upon request, with respect to each statement.

                     IN CASE OF ERRORS OR QUESTIONS CONCERNING YOUR ELECTRONIC TRANSFERS
                                                      (For Consumer Clients)
Telephone Silicon Valley Bank at (800) 774-7390 or write us at: Silicon Valley Bank, Attn: Client Services, 3003 Tasman Drive, Santa
                                                                                                                                a
Clara, CA 95054, as soon as you can, if you think your statement or your receipt is wrong or if you need more information about
                         or         We   must hear from  you no later than 60 days  after we sent you the FIRST  statement on which the
transfer on the statement receipt.
error or problem appeared.

       •          Tell us your name and account number (if any).
                                                                                                                                        error or
       •          Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe this is an
                  why you need more information.
       •          Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit
your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our
investigation.

For questions about preauthorized transfers, please contact us at (800) 774-7390.

                                IN CASE OF UNAUTHORIZED USE OF YOUR CHECKS OR ACCOUNTS
You agree to review your statement and to report unauthorized use (checks or other charges that are forged, altered or other
                                                                                                                                       or
unauthorized use) or error immediately. Your deposit agreement sets specific times within which you must report unauthorized use
errors to us. In summary (and subject to special rules that may apply to consumers), if you fail to report unauthorized use or errors to
                                                                                                                                   If
us within 30 days after your statement is available, you may be liable for subsequent unauthorized use by the same wrongdoer. you
fail to report within 60 days, you may also be precluded from asserting the unauthorized use  or other  error against us. Your statement
is deemed "available" when made available in paper or electronic form. Your deposit agreement or Related Agreements may set
shorter reporting requirements, such as for ACH services.

                                                  FAIR CREDIT REPORTING ACT
 We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account
 may be reflected in your credit report.
                                                              Member of FDIC and Federal Reserve System.
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